Pro Se l (Rev. 12/16) Cotnplaint for a Civil Cese

UNiTED STATES DISTRIC? COURT
for the
§ M District of f?§°`$m

~H"%~PFW Division

 

   

Case No. §?[ § "€V""?B “'€£!g’:¥="?

(£0 befz`z'!'ed in by the C!erk’s' Ojj‘ice)

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Plaz`ni.‘ijr(s)
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please write ".s'ee attached” in the space and attach an additional
page with zhefi:li list ofnames.)

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Defendanr($)
(Write ahean name ofeach de]%ndant who is being sued. Ifthe
names ofall the defendants cannoffc`t in fhe space above, please
write "see attached " in the $pace and attach an additional page
with thefch list ofnornes.)

C()MPLAINT FOR A CIVIL CASE

I. The Parties to This Conlplaint
A. The Plaintiff(s}

Provide the information below for each plaintiff named in the complaint Attach additional pages if

 

 

 

 

 

needed
/`_)
Nam€_ _ i\n\»-r»r+ le /l/\er.'r\
Street Address *§<? 95 /\[\¢(‘ \a.‘,r\ fde
City and Connty `A_lb£r,j-\/} m,‘§#§.fj$`.",,?f /QM)I+-L.
State end Zip Code gm 1. q q, 39 é/_,/ <
Telephone Nurnber 595 l __ §(D 7,_ 0 b Q_§/
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Provide the information below for each defendant named in the oomplaint, Whether the defendant is an
individual, a government agenoy, an organization, or a corporation For an individual defendant,
include the person‘s job or title (z'fknown). Attach additional pages if needed

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Pro Se l (Rev. 12116) Complaint for aCivil Case

Defendent No. l

§ Nanie
Job or Title (1'f known)
Street Address
City and County
State and Zip Code
Telephone Nuinber
E-rnail Address @fknown)

DefendantNo. 2
Naine
Job or Title @fknom)
Street Address
City and County
State and Zip Code
Telephone Numbei‘
E-mail Address (1'f1'mow11)

DefendantNo. 3
Narne
Job or Title nfknown)
Street Address
_City and County
State and Zip Code
Telephone Number
E~rnail Address (.gF/mown)

Defendeni No. 4
Narne
Job or Title (§ffmown)
Street Address
City and County
State and Zip Code
Telephone Nutnber
E-inail Address.: @fknowa)

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i-‘ro Se 1 (Rev. 12/16) Coinplaint for a Civil Case

11 Basis for lurisdictien

Federal courts are courts of limited jurisdiction (lilnited power). Generally, only two types of cases can be
heard in federal coui"t: cases involving a federal question and cases involving diversity of citizenship of the
parties. Under 28 U.S.C. § 1331, a case arising under the United States Constitution or federal laws or treaties
is a federal question case. Under 28 U.S.C. § 1332, a case in which"a citizen of one State sues a citizen of
another State or nation and the amount at stake is more than $75,000 is a diversity of citizenship case. ln a
diversity of citizenship case, no defendant may be a citizen of the same State as any plaintiff

What is the basis for federal court jurisdiction? (check all rhm: app!y)
Uderal question §El/Diversity of citizenship

Fill out the paragraphs in this section that apply to this case.

A. If the Basis for Jurisdiction Is a Federal Question

List the specific federal statetes, federal treaties, and/or provisions of the United States Con_stitution that
are at issue in this case. my r;th¢~ f.g /;,L ~PQ¢"Q" 11an 7£/111 @r)j},‘\fu.§;,'¢rl }:DF/Hy,
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B. Ii` the Basis for Jurisdiction Is Diversity of Citizenship ;/ §

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1. rae Piaiaarf($)

a. If the plaintiff is an individual

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Stat€ Of (nczme) _/'§/§/I'O se 1<` sol lgp_§ '
d I//

b. If the plaintiff is a corporation

The plaintiff, (name) , is incorporated

 

under the laws of the State of (name)

 

and has its principal place of business in the State of (name)

 

(Ifmore than chaplafnn:)j”is named in the complaint attach nn additional page providing the
same information for each additional piaintijffi)

2. The Defendant(s)

a. If the defendant is an individual

The defendant, (name) 'Z’_ 13 A/\ wait go n , is a citizen of

the State of (name) /:{ }//§(§hn ku ,§/y~ H_QMMWT . Or is a citizen of
- t xvi \ / f

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III.

 

b. if the defendant is a corporation
T'ne defendant, (name) -:[: g m M_§¢)* Om d.m/ 751/v , is incorporated under
` the laws of the State of (name) A/F fn y F/`A» /\/ y , and has its

 

principal place ofbusiness in the State of(name) /.§§, fm OV§K /\/y

Or is incorporated under the laws of yo)'eign naaon)

 

 

and has its principal place of business in (name)

 

(Umore than one defendant is named in the complainr, attach an additional page providing the

same information for each additional defendant.) 611 fha »f~q,§ f;jr§j §'y§QQ}“¢n/Qj MH
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csra }hqc_l€»t~'enc/a,nt" _ _ "L [leQ“/"/='*g W'LQ~ iam "LS mean 1115
The amount in controversy-the amount the plaintiff claims the defendant owes or the amount at
stakeeis more than $75,000, not counting interest and costs of court, because (explain):

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Statement of Claim QLAd wyk g 5 14

Write a short and plain statement of the claim. Do not make legal arguments State as briefly as possible the
facts showing that each plaintiff is entitled to the damages or other relief sought State how each defendant was
involved and what each defendant did that caused the plaintiff harm or violated the plaintiffs rights, including
the dates and places of that involvement or conduct. If more than one claim is asserted, number each claim and
write a short and plain statement of each claim in a separate paragraph Attach additional pages if needed.

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State briefly and precisely what damages or other relief the plaintiff asks the court to order. Do not make legal
arguments lnclude any basis for claiming that the wrongs alleged are continuing at the present time. Include
the amounts of any actual damages claimed for the acts alleged and the basis for these amounts include any
punitive or exemplary damages claimed, the amounts, and the reasons you claim you are entitled to actual or

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Pro Se l (Rev. i2/ 16} Coinplaint fora Civil Case

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Certifrcation and Closing

Under Federal Rule of Civil Procedure ll, by signing below, I certify to the best of rny knowledge, information,
and belief that this complaint (1) is not being presented for an improper purpose, such as to harass, cause
unnecessary delay, or needlessly increase the cost of iitigation; (2) is supported by existing law or by a
nonfrivolous argument for extending, modifying, or reversing existing law; (3) the factual contentions have
evidentiary support or, if specifically so identified, will likely have evidentiary support after a reasonable

opportunity for further investigation or discovery', and (4) the complaint otherwise complies with the
requirements of Rule ll.

A.

For Parties Without an Attorney

l agree to provide the Clerk’s Office with any changes to my address where case-related papers may be

served. l understand that my failure to keep a current address on idle with the Clerl<’s Office may result
in the dismissal of my case.

Date of signing: '\] E__ 33 - Q_C)[ g

Signature of Plaintiff f_`§ MM]/*(V MCUU!L*

Printed Name of Plaintiff Q to b M ,1_, l` /M A 71 /_/M

' ForAttorneys l C&[I"E D ll QO?Q§> E E- OC 4"'\~‘1)’ QQf/'~Q_+l/u"j

Date of signing:

 

Signature of Attorney

 

Printed Narne of Attomey

 

Bar Nurnber

 

Narne of Law Firm
Street Address
State and Zip Code

 

 

 

Telephone Nurnber
E-mail Address

 

 

Page 5 cf 5

 

 

Recvc|e the World Time

Things go around and around. As they say, time is in a cycle and does not turn back but
rather it turns you old. Can it turn you new again or make you young in iife? | have never seen
an old man turn back into a baby. What happened to the baby that was in the old man? l said
its hiding in the fife of man and it will come back to the baby. Who said that? A man can only be
a baby once in his life. We|l Who are a human is the body in the human part or man? You wii|
never see in the world time, only one time when you are born. But can l be recycled in the
world, anything are in abled well fine it. | think l see a face in the moon l has said.

l never stop talking about death. |f you look hard you may see darkness Wa|king across
the road looking for something to eat. Death always has to eat. I\/ian, woman, and animals are
flesh. Why do they eat? We eat to stay alive. How did that make the make the thing that hold
onto the earth and been here for a long time? People say we are made from dirt, but | think
they are wrong. | think we are made from darkness because darkness holds onto me all the
time. No, not because lam biack. You see your shadow every where you go except at night in
darkness. At that point you can not see me or my shadow. How can you recycle time? Time
never goes backwards so how can it be that l will stay the same age in my own time. A baby
man knows a baby old man. You're only a baby once.

What kill me out the World is some say death and some say sickness or that he had a
heart attack and died. But l say takes out the earth and carry you to the world. The world came
here to tell you his or her story. The story that you see what its doing. it holds all the things that
show and tell you the leaver what it knows. |ts leaver will tell who tell the wor|d. No the will be
the leaver. The world is the leaver that l come `to see how some ofthe world works. ls work l
even the right word to use? | see things that change. | know that's right because it happens
right before my eyes. '

q

l can have a lot to write about the wor|d. Do you hear what the word of the world told
you? l\/len don't ask me what the world told me.l Why can’t you tell what the World word told
you and me? | sent the air to live and keep you cool and sent the Earth so you can live on Earth.
l sent the water so you have a drink. l sent the trees to eat from. | sent all things. | thought you
were all things in one World. Where did you get these things from? The world or the Earth is all
things. Who am l? Who am | to come and go, though the time that l stay in here am | here or
where are we? Are we in time or in air or in the here and will leave here.

That Word here leaves rne to think very hard. Leaving. What are you talking about
ieaving? You do not know what leaving is. The leaver in the world word. i have to think about
that one | never thought about it like that. Well coming | though was the leaver beside God.

 

 

 

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Which one will you be with, coming to leave or leaving to come here? And when you get to
come to leave from where the world is Earth word.

The next biggest trend, my phone talks to your phone. This lets robot to robot tell me
the best you have. | am telling you that l have 2 robot talking computerized devices. There have
never been 2 robots that talk to each other. This is the first time you will see 2 talking robots
that understand each other. You build me a male and female or 2 males or 2 females that talk
and know the meaning of what the other is saying the words mean something You heard it
here first, or least you read it here first.

Don't try to take this idea and run away with it claiming it as your own. You would be so
wrong if you did that and you will not come out clean. But if you stay clean you will smell so
good. l am trying to smell money. | know it sme|ls good in your hands. You have it in your hands
to smell. Let me get some out of your hands then l can smell it. l can smell like money too.
Don't tell the world you did this, but instead tell them that you helped to do this. Everyone is
watching and listening To the ones that know came on earth and more to come build the mind
that makes things easy. Hey | thought of this life of living Which one are you? Are you both of
them? l\/lan life living in me is living Living in life maybe i have it the wrong way but life is good
there is nothing wrong with thinking about things or some word. The computer that talks to me
it has no knowledge when lam gone, lam gone to stay. There’s no knowledge for me to say
when l am gone away.

Does the rain recycle itself? And come back the same way the first time. | think it rain
harder sometime is it heavy weight than the first time or the second time? Just a thought. | s
the sun the same hot as the first time or is the moon as cool as it is the first time? i keep corning
up with times all the time. What did the World tell you? l will be with you everyday. Who hear
that? You see it too. Here | am the man that the world came to. lt came to me and asks me to
come in here and find out about the place where no man had came before. When | came l have
to learn the world Words of man and the way the world wants me to be. The world has to have
mankind here so he or she asks to make all things in hold. We live in a hold and we can not get
out of this hold that you call heaven. There is no way out. | came but can not get out. l am the
only man in the hole.

What about outside the hole or zero? Why did you call the world zero? Because to me,
it's a circle made round. Can you find another man outside heaven peeking in or trying to get in
the world zero? What is that man's name? What does he look like? Does he have more hands
than | do? Does he have more legs than | do? What are the differences if there is another man
dr woman out there on the other side of heaven? A man that thinks like word of the world. The
majority of my life was what? Breathing all the time was number one, looking was number two,
and | would say number three is thinking Numbers are everything and on and on.

 

 

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So you dream you and l was out the world, wake up you was some were in that hole

that heaven keep you in When l was sleep. Where did that woman come from? |f you a man you
know what l am talking about in that dream. That is why | said what the other woman or man
look like in and out that dream. Seem to me there is another place. | have picture in my mind

but | can not show it to you. |f | can not show to you, maybe you can show it to me out of your

mind. Leaving to go somewhere in what you are leaving in smell to go back to smell who are

smell for me to return me back to him are her. | came to smell. l am smelllng good or bad. So

the bad smell is not good for you and me. Hey talk for yourself

Smell is what keeps me living for a few years and lam good with smell. Bad is good with

y,ou and with me. Stop playing bro l arn trying get to the bottom ofthis. No you do not want to
go there. The best is to stay on top were all the good smeliing air is in the top not the bottom.
Now l can not tell you what to do about your bad smell. You have your own things going on.
You smell yours everyday but it is not so bad but you are on top and | never can smell me on
the bottom. | will never try to a man p came on and never go off when he is losing blood from
his body all the time. l did not a man will like a woman down there. lt would happen. You want _
to know everything No |just like finding thing that make sense in the word in a since

How many things have sense? Does the ground or air or water have sense? What do you

think that makes scent to you? Besides humans and animals think. Number eat all the number
are keep all the number together. Can the world hold ali my data that l bring to the advertisers
world and my writing for you to know me and my mind and know other that know thi_s. Like the
one that came to put me in the book to know and tell you what you do not know about but you
think you me but will lever know me before and after | made some or the us the smarties to
come in the world on earth.

Stop and think for yourself not for me. Just read and built for the world will come to see

the thing that | put on together on paper and iron and see my work in your mind. But you put it
there from learning l do not want to take all of your time but l will tell you about my name
Trebor. This name means so much to me and my people. Why are you telling me this about
your name? To tell you about this device that | put on paper was a computer smart smell and
tell and talking device that will identify and discover. This is what we have needed for a long
time ago. l\/ly device will find all the meaning to finding discovery. lVly device did not discover
nature but discovery itself with help along with help. This device did not undiscovered, it over
discover more and more technology.

Let me brag about how well a job that came from me. l_et me tell you what | arn doing

with one device or learning what you put in the mind of that device and it's keeping up with the
technology reading and talking when you ask it something That is a beautiful talking device.
You said Watson was its name. Hey lets put Watson and Trebor together to know each other

 

and talking to one another so that will be two devices i put together but not as one as two
devices understanding what the other car that is driving itself or whatever the case may be.
Learning the world new thing that comes through the mind of man or machine. | was the
biggest thinking man on earth and this is not the machine that is writing or typing or talking or
not as of yet. This is me writing and telling my talking about a mind. That a machine has a mind
to think something through. The man on the other side of heaven here, he or she is in a device
they know will respond to you and another device. So smart to be able to know that two
devices will know each other. lt's talking to the device and tells the device what to do and not
to do. Why are you trying to hold my work back? Get out of my way and see me work my way
to the ways of things to come show the world how it came to smart man. What are smart? lust
the way things work.

|'rn not saying this in a mean way but the way |’m looking at it is the way it is. |t may
seem like this smart device will always come and get better and they age and learn more about
the world in the world that go through the device of learning You have a lot of device or phone
but one phone do not know the other phone is talking to my phone. Trebor will talk to you and
your phone. lt will talk to you first and can ask your phone something that makes sense. When
driving a car it can tell the phone stop do not hit a human. |f one phone did not see them and
the other computer phone may see them and have a communicationl Didn't you just learn
something off my paper? Stop copying off my paper and get your own. You have more
education than l did. What happened, shoot shoot shootl Don't tell me to shut up. i am not
ready to go to heaven and find no other.

lknow, l know, | know. Can you learn more to come with the one that is not gone
buildingways to keep up with the world? This is the way a black man thinks. His knowledge for
the book and the world that know the world always know you are bringing hi-tech for thinking
and learning Just the way it is corning from the world word and the way knowledge put it
together or reading will let you tell something But not all things keep up with the world. You
are not running fast enough on my feet. You would not know if | told you that the world move.
The earth moves, lfeel it when it happens. l see it when it happens. l have to give |BlVl some of
the great mind that list when l email them the computer smart smell and tell and talking
computer robot. 50 l am telling |B|\/l again to make the version of virgin or the female that
match the male and the will understand more together. Can that be?

The best new to see and hear so no one put the smell phone out in the world so l can.
See if l had my way with money it would have been built and here for people to know about
This is not a hiding place. l am bringing all kind of my way to you to see and build. lt seem to me
you can not see this because lam the truth that know what to tell and it will know how to bring

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talking form one to show the other in the world. Go forward with power of telling and they will
learn what the world comes to do for the earth.

l am thankful for my knowledge it was never stolen from my way of thinking l~iow can l
get in your mind and steal your way of thinking? ls there a way? Yes, | will get you to tell me
what you know. Hey why are you looking anymore? You said you were a smart man so what do
you need me for? Because you come to the world with me and l can think close like but not
exactly like you. Two minds that think are here, not in man mind but in the robot world to
dome. Stop trying to hold on to me for your mind, try to get me out. Yes, out in the world or
mind. How many are you trying to build? Only two, which understand talking, thinking and
knowledge First time talking thinking knowledge has in a device or would l say two devices.
Boy you do not understand what these devices are saying No notyet but you will when the
other one wake up and start talking Don't give me all the credit, but give me some of the
money for my people. They are waiting to see what will be in there because l am tired of
writing

But | can go on and on. |n my life as a boy my grandfather had some mules pulling a log
and one mule went in the ground and the mule had to be helped up out the ground. This is all
in the way it is. Say your brain is not too big for all this paper, hook two phones up to talk to
each other and not repeat the same words at the same time. One asks questions and the other
one knows the answer to the questions that are being asked. All know what the other phonies
doing Exchange the way moving work. Words are moving your mind to the other word. Wi|l tell
the Way it works form One to the other. Some of this moving is a human and some is a device.

l-low do you exchange your thinking to a device that will think like a human, or so close
like a human talking? | do not know the pound or weight of two robots and how many words
they will know in a time or talking or learning to talk to the robot or when to stop talking All of
that will be worked out in the time to see what it knows. its happening now because l am telling
you it will happen. The thing that was too smart to come here but l made it tell me what did not
come here. Power to keep telling you all the time you are trying to come and stay. lt’s a
thought. Power of telling and we are listening for what? Stop playing What are you listening
for? Everything that tell the sound to come out. lVian you are talking to the robot telling you
what to do. Which one of the robots telling you, the female or the ma|e? | say there are three
of you talking No there are more people that can talk. l'm not talking about but two robots and
me on this subject about making things talk like me.

When you die you will stop talking Then people will say he will shut up now won't he?
Yes but that thing that is called a computer smart smell and tell the face looking word company
robot male and female will live here for years to come. And | said it first. First you need to it last
for knowledge to know its here for a reason for action or of being active one. The machine is

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not in action now this is why the knowledge is talking to you saying build another one just
about like the other one.

|Vly reason for coming here is to tell the world about the world that turns me into a
human. |-low did you say that happened? | did not say how it happened. | said l think lt
happened like some of the things l had said. Only you tell me how you seen it happen. You say
the same words over and over all the time. Yes maybe it makes sense what these words are
saying to you. We|i you need to find some new words to tell you what you want. What new
words? All the words are already here. What new words will help you know something or do
something? |'m waiting on the new words so l can add them to this writing Vou're a smart ass!
No |ju`st find and discover that. |'m not a smart ass or a dumb ass. l'm an ass it is. |\/laybe l am
telling too much to you and will use that to find and discover you all who you are one at a time.
What do you mean one at a time? The clock moves one at a time, that is how wash over you
and me time.

' |ts time to ta|k, time to see, time to hear, time to die, time to live, time to |eave, time to
eat, time to call, time to play, time to work, time in. time do not give time away to no one. Time
is on your side for a long time, this is not new. What are you saying? SOme are new. You find
the old and l will keep the new come. Are you in that one at a time or are you in time or out of
tlme. What time is lt all the time? Go find you something to else to do and stop writing for
people to read. if you do not write they will not know. Words are the way they are use to, come
on ole' boy. Who are you calling ole' boy? lt's just a word. No it's a baby first,l no it's a word
first. Go set down somewhere with all this. You do not like writing; well you find another way to
write it then. Do you know another way to write it? What way can you tell this what to do?
Conso|idation lifestyle the strongest-word or words that know me.

How did you get so smart or where? l do not know. l\/laybe from telling you that smart is
in me. Where at, your hands, your feet your head? You think that your brain, your clothes that
you wear clean clothes makes you smart? Or the teacher or the world makes you smart? i-lold
on where did smart get me from? From smart telling or telling smart. | got it from you dig? l
don't know it to me and | use it in my way or words. That you can put things together and make
do things that has never been done. l-lave you ever lost smart? No smart will lose you. Why
can’t you keep up with smart and lose it again? Go tell some other that because smart come in

and go out to tell where you are at. lt will never leave me. Do not delete me.

Say can | put weight in a camera that take a picture of me and know and know how
much | weigh or a truck weigh? This is a new picture weight camera telling you how much
things weigh. How can you do that? | never sat down and drew it out. Take an empty truck and
use that weight and take a picture of a loaded truck that has a load of wood on it. Think how to
build it together. We can scan your truck for the weight With the phone picture camera for your

 

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scales and tickets for DOT or whatever the case may be. Say you will not need weight scales to
cross over no more. New tech is here when | build it. Why did you write all of this? lt was too
much for me to hold so | had to let it out and can not put it back where it came from. l got it
good. You need to know. Well did l write this book right? You right. Then man mad a lot of
things happen in the world he build all kinds of things in his time so smart was here a long time
ago but it is still moving time ago.

Where did A go? `l“o me and it start work for me. That is where | start my A B C D E find
earth and kept lt for itself. The dictionary holds all the words or are some left out of the
dictionary. You said where did the A go to. lt went to all the things in the place. B is meaning
these things came from the place they was at to earth. People say God does not have a wife.
How do they know? Where is their proof and their true evidence? Do not argue with things we
do not know. Have we been learning the things the wrong way? You don’t know, say you don't
know and learn about more to come. From you telling me what you can find. Did the world
leave anything out the world? Give me the information and do not talk about other information
your research.

l know where the problem is, you believe in other that will tell you anything You have a
mind to help you think. is the world wrong for showing you all of this? A matter of regarded as
unwelcome. l will welcome them. Don't be fooled. Have a clean mind. Do not be puzzled in your
time and place here. This means something is happening and we do not know it all, only God.
The world sent a pair of everything in twos. Things came here for you know and see. You don't
k'now a lot but you can see what l do in the book of time. i finish the book that came here with
me. Finishbook.com with www.@words up next to robot.

One robot said to the other robot we has to work together so we will not run into you
Watson and l robot Will have a sense to stop or talk to the other car. The light is on red and l
stop on red and you can go on green. The robot has to tell or talk to each other to stay accident
free. One has to know what the other one is doing and | think it will be better. l think learning
the was the have control or earth learning Also it will be the knowledge common sense not
common errors in English words. You need them in the context but know when the different
contexts are needed.

What l'm saying is correct phrase is right for the learning of a robot computer smart
smell and telling and talking She thinks to keep me safe there are them that will swear to
anything This is not about swear, this is about a robot getting right so it will be right, hoping
that accident can be cleaned up with all things that are in us. We went to the unknown origin
but became known. l\/lake object expressed or understood and accept automatically from to
r_eflect the usage of the word use in a day to come. i'm trying to see robot accomplishing or
achieving their dream. The biggest thing that ever happen.

 

 

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Did you see two? Did you hear me when i said thank you? This human did not say
anything back to me. The communication need to be more understandable in the exchange of
talking language |fl say thank you to my phone, it will not say you're welcome You can only
ask you robot something l\/line can ask you something and the other robot. This is the way it
should be. You did not put my talking device in none of my work l sent to you. You left out my
computer that talks. |ts no where in my patents.

Only thing you are saying since it mainly relies on smell recognition techniques
additionally the device is equipped with a wide variety of means of identity recognition, other
than the olfactory sense the abstract did not tell all the computer smart smell and tell system. l
brought it to your attention. This is very important to the smell and tell,*do not take this away
from all that was told to you. Put it in the rightful place All of this comes as one package This is
three things; a robot computer, a computer smart smell and tell device, and a robot lPhone that
will know the robot computer and the robot lPhone will know the robot computer and what it
tells. Each smell and tell will know. You build all my work and see in the days to come. l\/ly
money is too short to build all of these devices but you have my back so you have wrapped up
or you in my pocket give me my knowledge back and we will be even flat and smooth.

 

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with you’re a thought can come to you is the dream of sleep as big as the dream of mind | will tell you
something l left on Sunday and stayed for three days and come back on Sunday how can you do that just
a thought what does you mean about hear smart hear you say hear will always be hear who is smart l
think death is smart death make living people work for it and will not pay them no money no thank you
no anything for there working to help death and | can no stop working for this thing death is too smart
for me can you stop when idle some will come get and clean me up so lam working for him just all the
way try to work for life know one never told were death start from in the ground it must have a way to
hitch hike are travel l did not know death can move but l see move it move and go get somebody the
begin word came in the world you will never learn it so smart can you learn a new way to eat smell your
food you has to have some good noses to get full off smell l add 1 and 0 so i will use 1 for good and 0 for
0 win l had said thank to the number ten before 0 win will hold you were ever you go they never lose
time you can never stop stops that is the only way death will stop time is death will stop time is death
and time never have a change to stop and go back look for thing that is lost you came in earth through
one 1 are the other 0 homemade 0 win hold that thing that in my panties |s a flag pole because it flag
down lady and ask them for a ride the 1 went the 0 and you put you and them together no | did not put
them together they know what they did to be together l will never try to see why they are asking why
you come not me so when they came together that became a 10 no one can do it any better than that
they have ten that you put on house but it is not like what l am talking about when they made
something together win alr'house and all kind are thing l will never go off number llone is life and one
is death came to us the world told you a story and you are living the moving story he gave to me and the
one that know his l the way that l see the thing in mind l am not talking about god people l am talking
about people peoples only the book stand along with Tina l-larris??? We think all they done to the word
of world you know knowledge in your mind words being using us in becoming forward move here word
starting thinking words that was you that’s making of a man and a lady god face looking words company
words company people are leaving here and not telling me where they are going you are made out of
word l came to stop this is not the end it isjust this to stop somewhere word is me the world holds me
also in word man are women in here but holds you out the world win into the right place we see that
you are enjoying this reading new win mean new earth world 0 win mean in l went together win mean
world in

 

 

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IHEFIRSTBO£N GODARE THE FIRST OIVLY GOD WIFE

The,begin1Robett: walk around the World and came her to tell his part that he know from
the World7that-thjnk for What it does and say to the thing that know What the world told it
what to ldo. lt has to be thinking also What the World Will tell these thing to clo. The
world ?tl'ijnks. To'-thjnk is this to World thinking for each other. Why do the World think
for-theother world? So you can be a part of the thing that make it happy in the World
earth. First born air smell good are bad. A man said hey 0 big fat short Robert. He was
a good man in the living World. I do not talk about people in my book because they have
their own ways of writing and talking Where did the stink go and the good smell came
to live here for some years to come. Did you ever ask the World how did it come here or
how did-it do that Hey We don’t know. Hey hackers can steal but hackers can not know
how to steal from.your smell or your smeller chip. Did first look come fi'om the face
looking company First born air smell thing that was coming-together before facebook.
There,was, to'phone, put on a gun for picture and download the Way thing Was happy in
real :time. Maybe- fam, Wrong' but the to phone hold information and you can Sce What
was on the-phone message When some one did something book message are word
message:for'books lor phone The F ace Looking Company something came through this

company and`left out in the air.

 

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FJKS._'-ITEOOK

TheFaeel]ooltingCompany does not tell anybody to do nothing For this book only read

and :you:may understand some of the words lt’s put together to see what can come out

the-meaning_'of together With- words and numbers This book may not help you lind God

or me, .but=it. helps me read and see things that I have not seen before or that is not. lt

makes me hear thing that l never heard before Words that learn you to know about P ace

looking._'was first born in the now time are our life. First born word First born earth.

First.born world-. First_ to build that thing you are reading I’m the first one that tells

about=thing'to become built lelaim the to picture in the to phone. l claim the download §
of:one phone to-the other phone. I claim smell and tell what every the case may be. l
claim the talking that the phone tells you when you ask the phone a word. l claim the
other..talkhig.phone that do not know the now but there will be another phone that talk to
that phone that you ask about a word The other phone will ask that phone something
word ‘and¢we hope that to talking understand the other phone and the word they know.
We are.-building:more smarter talking and learning my phone to ask our phone to help
look out:.for- our safe tol phone that know how the other words. Our phone and my
technology that-l wrote and put in the computer. My story of technology put talk to tell i
the processes what to do. l am the one or the science of the application or talking device

We.will make another application device talking

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effective date of registration 12-29-2{)06. Camera Pistal Camera Pictrue Forrn VA Reg

 

VA 1-40`5'7171. The Camera picture is the one picture is the one that you put in your
phone. The camera pistal` will take the picture and shoot the what ever. lt shoot the
camera-will record what happy and download. It to where ever it need to be the face on
rny phone and your teXt. Register of copyrights United States of America for Robert
certificate-of I{egistration. So my message picture my smell and tell and my talking
computer voice and we are tell you about another voice computer examples of to get to
know each other in English. Computer smart need to get to know each other. We will
learn lmore and= better to know- each ~other” or knowing each-other” english one voice all
ready-talk and thei other has to grow to know difference between giving answer and know
what=the other answer from the other voice but they know each other they need to
interview questions and how to answer them right then. We will have just what we need
to drive and the other will try to keep the answer right all the time for the one don’t let the
other go wrong_.' Will the computer be prepared for these questions and answers Ask
what=on=can he related to the voice in the next M. Learn to this M_ never been

build make happy First Look.

 

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Thesecond'coming-:of Waston Martin are here. To see the work that Waston Martin does
as Waston-andiWaston-Martin are Trebor that was what l had call Waston. But we will
use.Waston'Martin.and you have Waston with IBM. Hi Waston, hey Waston Martin. Do
you know me. No-Waston, l do not know you as of yet. How can we get to know you
and.'you lmow met You. can change your name to Waston Martin Trebor then we will he
hagans ama weil you has to and another name well twin be the Lady wasch and
you-the man Waston. That sound a lot better. So we will get married Are we married
We. have the same last name Waston. No not yet, but it come happy. l will wait and see
how you will work with me and then we can say we are married. Hold on Waston, you
do not own your own self I have to give you a way for you to get married and she is too
young. For your Waston, she need to grow some more and then you will know just how
she work and`then. you all can work together and be able to keep up with the man Waston
and.th'e man Waston can keep up with lady Waston. l will keep up with them also. Say
you all.are trying to look over the Martin Waston. He will be the one that tells you what
a good job you are doing. Maybe not Waston. lt can be some one else that thinks like

Waston First liook

 

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Firstelook' at:my phone that has to picture in it. l has told are talk about First Look at
Smelland»Tell and the first look at the Computer talking First was you looking at first
yes..- because l'carne with it look for it to come to your phone Also have you ever seen
first look. This is an application we will take a close look at for people to put some of
their history int and letting you read them on first look in your book Coming from the
face.-looking;company are face looking application I think we will use the Faee Looking
app to find what you need on your phone May be not just one of my ideal l look first at
when-l§knew what is was looking at. What were you looking thing What that was the
world was lookingat what you do. We will sell some of this thinking Come on with
some:of your money and stop faking. This is real talk and talking are listing to what you
had to say about what all thing you had said in life to come are ideal. All my ideal may
not he enough you may need more and more. lf you did not get enough to contact your
mind for 7rnor¢e because'l think l talk too much. Maybe l said this before Said What any
one gets enough Now he put all this in the way. lt is guaranteed fulfilled product
working service provide a formal to make one self right or h‘eedom. people like to use
the word:Wright. l’m let that go by me no comment My senses was gone at one time

they say I'was doing any thing but my senses came back to my mind as sharp as smart

 

 

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l>h'as said@facingl*"lrst Look that is where some of my pictures come from Whenl look
lirst\into the picture,7 l show me a picture of me. So a phone came from the picture that l
had to picture on each phone and l got my to picture from the picture in the mirror---.
So'Fclaim the.picture-inthe mirror and a phone hold so of the mirror--that l look in and
disco.ver..a-camera picture hom the mirror. Then l said every thing move in the world
because when Imove the picture move my mirror-picture add to a phone it is picture are
look in the mirror and the mirror phone are take my picture now will this is the real way
the-.ideal? come through. Look in the Way you see the mirror in your picture and the
nnrror look back at you. lust remember you did not see God or his wife and don’t forget
lie did‘not- see you-neither. So the mirror is very smart to let you see how you look at
yourself-. Tehey say the mirror tell a story about picture but it does not tell the story like it
tell"the-phone'-is-j_ust like the mirror when I look in it. l see a picture or some reading and
like.-lhe:.talk'in.the mirror to myself are dancing in the mirror l mic mini give me my
talking or tell about my talking come out. You mic mini condenser mic your professional
microphone I’m just saying do not forget about my part in the phone chip only talking

made my happy do not get it all pass some over here.

 

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!f you ask a microphone a question and it gives you any kind of answer, this is not yours, it
belongs to property of computer, Smart Srnel| and Tel| computer to talk. l keep trying to give
you head up on the invention that tell device are machine that performing the talk that what
you put in the microphone are in Waston to make it ta|k. l should not have to keep reminding
the world about to talking that | know will work together the challenge would be knowing the
meaning or the words that the other device said. Can | answer Waston and Waston tell me
what to do and do not do or can Waston answer my question that | ask Waston. Hey We have
to try and see who are smart. Waston are me who are me. |'m a device to be like Waston, but
hope | am smarter. You can not be smart as Waston, because Waston was the first talking
device i\/laybe Waston can teach me to learn intelligent device thing that has super artificial
intelligentl ls good in away but do not think the bad side there are no bad side to teaching the

machine skillful research. The machine that would successfully perform any talking and answer

 

three of us to machine and a human. if this machine can do this task, will be the intellectual
task of the worid. |\/laybe you are not ready for all of the knowledge come at you like this. You
cannot handle the knowledge that the worid bring to be heard. You will never stop the way the
world grow. |ts ways to tell everybody you know something about the come are time to come

and you will go and find you way in the place of what you did in the way you die do not look for me.

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Look for the way you thought you came to be a man from a kid. What was the part your body play a
part in the kleiman or the man kid. 50 you live like kid and die like a man and how you are looking for
the kid again. f do not thing that will be the way it is. What way it will be the true that the kid dle. How
do you know that? The kid die when you was 10' years o|d. Why 10 years old. Because 11is added to
you so you can become a man. You start out at the one and you made it to one and to is call eleven
meaning to me different from l to 10 but 11 does not make a man but it starts to see some change
when you made it. 11 start changing you into the teen and the body change as we|i. That is not telling
me anything about a man. We|| just say amen or aman. Why say that man you are too hard on yourself
and don't know what you are hearing. What did you say about me hearing how are hearing the kid that

was inside of you. You said that kid died. What is he hearing? The man talking to him inside you. 50

l'm carrying something die in me. For these many years. Come out and talk to me about you inside me.

You are too smart to die. lust want to stay inside me. How can l get you outside and let you run around
when you was younger. Now l'm an old man. Turn me back to my younger kid stop talking like you

know what to do about that sltuation.

 

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A human cannot handle the true talking of a human. Why. Because you would say he wrong, but it
came out his mind just like he said. lt what ever he said in real time no bed time. So you have time to
talk about what your few senses are telling you about what you said. lt supposed be like you tell every
thing that add up to be the same human that are in human that is what you told how to get human out

human. l see sex but we know that is super nature. Keep looking for what you. |n the true kind, you

find the you in all these words that was told in the world of true who did you say you was. |don't know

who l'm. You want me to-tell you who you are. Can you do that. No l can not identify a in a place
where you has to leave and you will come back. Or will not come back. N0 we was talking about
handling the true. Where did l come from the world. A man brain do not know his senses of tell him the
true but he is brain dead from the kid hood. 50 double meaning to pairs are twice are to meaning that |
see in my ways t0 thinking about words has meaning The double words forward you have all the
meaning to all the words that you know about. But backwards and forward they has words also. So you
do not have a meaning for the double words. l’m living backward word. You look over that way. What
did you see? l did not see astray. l see meaning to pottop are top pot. How menny words are in the
world like this. Spell backwards and mean that it know. 50 how can you handle God true and cannot
teli the true. See the true. Hear the true. 50 is you the true. What are your meaning of the true

human. The only thing own the world is the true.

............ 6 as e518_C\/_0007 3 _ .6 B_MT§DOCU me ntl§|led 0 7 /05/1 §a.ge 24...91: ..1 2 1... .. ..

i seen the King dream. l been some where in my dream and l did not know where l was at that time. 50
this is where l was before l came here. Did | go back to the same place and was talking to some people
that 1 met in the place. Were something to ok me there and l was able to come back to my dream or
come back to my mind to my |ife. | was not dead at that time. l do not think | was dead. l was living in a
dream. l had a dream. You can kili the dreamer but you can not kill the dream and you cannot tell the
dream you do not know how. Oh you are learning now and the some dream never come true, but some
come to you. Do l have to name your dream for you to know |’m talking about you keeping mine to
myselfor for myself. Find your dream out your mind. | did not happy for you. Are it did happy. They
say they dream was in their mind. How did it come out. You open your mouth. No maybe my nose. No
maybe your ear. Who told you all of this. S|eeping did are sleeping dead. Are the sleeping life were was
before you came here to this earth. i know you was not dead, because dead do not come to the earth.

They are gone to the wor|d.

 

635 e._ 5 1 8 _CV_ 0 00 7 3 _ D6... _ |\/| T. § ...@.C U.me.nt ..1 §i.......leG107./0 5 /..18 ........... §..a.ge ...... 2 ..5... Of 1 21 ............

Thing that being talking for you. How can you take something that is the mind a dreamer when
it's going to be taking from me any way and going to be taking from you also. 50 here are the
mind. | give it to you but your mind. | do not want it to blow a hole in your ear so you can
hear. 50 you will hear are you won't hear. 50 you never hear what people say, but the king
came through a l\/l a device brought the speaking or a dead thing are machine never talk but it
talk in the time are bean the world is too smart for you to stop it from making things happy all
the time. 5top it you can oniy thing you can stop is people from their dream. A new dream that
talk were did that come from. A man that live is a man that die. Did that come from were you
was at first. King sent it here for me to tell you about the five in me. 50metime are with God all

the time well how did you kili him then people are being ric in the ric my dream.

 

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A book that came to know what it’s say. Looking to come and tell you what it is looking for things that
we may not know. This book is looking for what happened How did you miss this? Miss what? The hook
that tells you many things about how things are somethings work or can you fix it to make it work. This
hook need glasses to see itself work. l thought the book can not see itself with his;; and now you say it
need to see itself works. is this book with a mind are a head or mouth or eyes to see, Where are you
going with this book The way you are telling this book to do things l am not going no where with this
book. This book is coming with me where and l’m going. iam trying to find some are the things that
know how to find me and l cannoth'nd it. This hook did not tell you how to find nothing but it read things
that you can know what are you trying to know my eyes. Can you see the moon that is a long way from
earth. You have some powerful eyes to see that for howfor do you think the moon is from the earth
where l liye. Millions of miles and l can see in the moon oh there is where the miss is in the moon. This is
one man way of thinking death is our leader it commands in his organization that is what l see in my life
that l live in here. lt look real to me maybe there are not a word that will help the miss one from earth. l
will not look forgot but you can if you like to leader. The leader is the one on earth and you can see for
yourself The leader living organization is real and we all can see what catch one give to the other. This
hook does not knowing built if you read this hook you will know.

 

33 9 5 : 1 8 _.@.V_O 99 7 3 _ D C B _ |\/| T § .............. .O C U m e n.t ...1 §i..led 97 / 95 / 1 8 .....§a.g e 2 7 Q.f......1 2 1 ........................................

Are my reincarnation who knows the difference U say my name is Robert and what l wrote on
paper is some of the things that know words. ls the one that knows me l am words l always
thought my body knew me it did not work in my mind. When l wear puzzles to know the words
on me what words on you only you know that computer smart smell and tell will tell will tell the
identity it knows it discovery people smart thing comes into the world and know all kinds. First so
put a talking device on paper that keeps up with talking to you and like me. lcan tell things X
side is an invention we put together we put so much together that we understands on paper and
in my mind. Did you ask me what l wanted to who are you registrationl l was thinking about a
lot of things but the name aris sleep or dark, l am corning to get me death have my number the
harbor death is when lsuch a hole in the ground and cover it up that is death. Death have my
number the age ofa'eath is when l dug a hole in the ground and covered it up that is death. We
said a woman has a hole with her is that death she carries around and then life comes f from it
to. We will talk dark some say l am black ifl was black like dark you would not see me. in would
go and come like the dark daes. 50 death live to eat people and stay fat off the things it eats.
i-low you know death is fat or poor when a cat or dog talk to the other cats do love meaning the
same thing as people l think things has feeling people need eyes all the time and life animals can
see without light at night. Hovv can that be done they have something they eat or drink that
makes them happy. l need for you to put they eyes in my head then l can see at night and need
no light to see you do the earth love you forever. How can you make the earth tell you that which
one it does it don’t hate earth has the last say about what it will do to you. l thought death has
the last words l arn the word death does not talk it uses word what are you saying so the moon
hold darkness but this does not say l came from darkness but to me l never died to come back as
or yet that l know but the looks of things the moon holds some are my body content that are so
close to me and the world air. Do the moon holds all life? l-'or things that are dead service just
look for yourself and see what you are looking for in the way of going through the earth and
world are transverse definition time do not ever end how does death end in time no death end in
me and send me back to the moon just a thought l thinkl him to rest with my people who knows
this the world win you came here or send here the world knew that thing dad put here for you to
do here and then heaven can be the moon that gives you light and darkness it’s like my eyes the
sun does not shine at night moon shines to time day or night l cannotfind the word to say how
good is God to be able to seen in thing that he gives me to say about the heavens. Were we live
life and treat likes you want to be treated from love that we know very little about yesterday you
under. What you need to do for you to make you know the things that call you to know. What
need to live be a part oftime that never end you have a mind to get things that or things that
comes from the store. But you cannot buy just be right all the time you up and grown and show
yourself how to do it right or not or faced the righteousness this come under the words
righteousness. Will make things come much easier than wrong things l talk too much well l let
my inventions talk and tell you a story on its own way. l will be big in this earth when l am living
and when l leave l will get lost in weight l spell no backward and it’s spells on just a thought that
we recognize in knowledge and using in my life of living drunk and walk home one day they
heard something in the graveyard the drunk man thought God and the devil was separated the
dead one for you and one for me this is what he heard two men picking up pecans in that place
and they was separated the pecans and they wanted talking about the one left by the fence the
drunk man thought they was talking about him he ran and told the peoplethe bar room. What he

 

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had heard God and the devil was separated the dead andl was sitting by the fence . l thought
they were talking about getting me but the man saw the two men picking up pecans the drunk
man had it wrong can you tell.

 

 

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Are laughs you know what to smell and want to see which one last the longest which one has never
broken in. if l have to ask who are you in smell would you be the same in the to smell in life and in heaven
if l have a change to ask my people something What would you ask them to you have to keep the two in
your mind do one know the other were about. The mind or other l thank the truth know always when the
lie l am around the world hold all truth. lfl do not know but you and the world knows you because the
world built you and to know you better than you know yourself tell yours to the world or to God's world
telling your lies. l have my own to try to give to someone l own something and it’s true yes the world or
many things grass tress air smell l know that l am the truth because l smell like what l smell like you how
can you tell all these stories l have a good sense smell only hold all this together. if all noises man can see
this world never make a lie no sense do not have a brain to se the real true what happen to no sense. l
thought all things has sense you want it on one hand back and front of your hand. Which one are right
and which are wrong?lust a reminder that the world changing things so we can stand and set and lay
down we have only three ways to do this thefourth way. Who wants to know that way one darkness
you only have one way to see it that is through the automatic world. l only see one way looking forward l
can see two ways ifsomeone is looking at the things they are telling about the oven smart time. The
world has sense so do not try to find no sense for the world. Because it can be a good thing or a bad
thing when two people are having sex and a baby comes here l think God blows air into life and life
comes here or into his wife and she blows it into and life starts living. Can you take a picture in your
dreams night and day see what in picture drama at that time it seems like it’s true in that time zone. Can
anybody keep that picture you cannot remember it to show it to other people recording dream in your
mind or in your night so l think. ican see who l think l was talking to mind pllno and one was there you
think who was there dream who at that time. Who are those people l am sleepy how can ida that the
way something works only four things can stick out my body. Same people has less parts to stick out my
feet my hand my tongue you tell the other lady stomach whatever the world tell you to do ever list at
that time the world told me to stay here and get older i am trying to. Then will leave and go to the only
place l know true automatic in you and the world automatic true is no lie. Can you tell the dh‘errence in
the word that you live in can you see a lie in you or me with through my mouth moving earth world. l do
not see a lie in a tree lthink no can get something offa tree that is reincarnation did that tree tell us a
lie what part you understand about reincarnation lsald l will be reincarnation also which one tell you
what to do my ears my"mind and my thinking.

 

ease s-;--1e--@v-0007-1--Dc;-l--ivl-T--P peca-ment 1 --Filed- 971/05/18 -P-ag-e---e0---@1---1-21

l cannot name everybody quiet only mines l have to leave my book here for talk it's to see can it
find me when l am gone on to the call that bring me to moving and then iam just like a
magician. l will not be in front of no audience only bone. l will be bone aging air l only need my
bones again or something different to make quiet work. /-`\ging my skin looks different from quiet
living and disappear skin like a magician came and gotten my skin. Do the brain go the same
way the skin go bring the skin to my brain. l know you did not say that you dead like the skin on
my body. What did you do with the mind l sent it ahead to where it headed to. l don't want to
ride with you this is not a situation this is a thought mean oneself know where to put himself
when living tell the truth. Where are you at you has quiet in living to my quiet talking computer
smart smell and tell and talking is my invention to be patent Robert who think like this. l will talk

about more when l get my patent or sale myrights¢§omm__ypart_s_.__ww 7

This book does not fit in other books because they does not has another room to hold all thus
knowledge that this book carries around with it. So book your cannot fit in but your book had
some knowledge from my words. This book was lost and you put it down. How it was lost you
have to find the right way to write and tell someone how it goes. How do you know how it
goes? This book let you see in your mind not only darkness but light that can read about read
about words that goes together in a sense. When reading this book you will hear many things
about fitting to stay in here. l.istening, l am trying to find my way to a longer stay here so let me
help you understand you said you are understands ineed to get from understand and just
stand. The way l was thinking that your was lost it needs my words speak through a device and
through my mouth. The machines that talks to to understand thing or the world words. lam
looking to find out with that machines how a man and woman can live to be 150 years old.
Learning a machines to think and know how to tell about human body parts. Once a machine
can know about all the parts or a man organs in their body. The machines may have a chance

to help prolong life it will know what it takes to keep you alive for more time on the world place.

 

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end two ways to look at that do death have a twice that way. took at we don’t know about the way find
out will you live forever you has to see out what makes you grow in your body. Then you may have a
chance to live a long time maybe it will be call no more sleep which one or y iu looking for life time or all
the time. l think that will be meaning are staying here how do you meant that no return to the earth. l
do not need to be there l need to be in life always can not be there liust thought about ifl was God. l
could have gave You all the life you need to be here fora long time so you know the rest. l wish life that
live at that place you was at before you came here on earth you was dead so you know the rest. l wish
life that live at that place you was at before you came here in earth you was dead so you been dead
before onetime, $o you has to die again a two time death is death scary or death jumps out from your
body. l looked at this as it one never dies reading my life and others are lost in life because they did not
know the way of life talk to yourself and you look at things you figures out are lot if things. How do you
see more to believe in time are l time everybody comes when there time is here or goes where they like
when grow. l did not grow out my body my body time kept me the only body l ever knew. Do time holds
the world ore the world holds time as long as the world been here l never heard no one say or said the
world has gotten bigger time keeps the world the same side you run time keeps up with you. lstop
running and time moving on who his time running from my time or looking for lifetime your time is
lookingfor what you can never change time. l am going to keep time awayfrom you cannot keep time
awayfrom no one stay together time and the world. l love you just like you have it the world’sfirst born
family air knows more smart words on paper tell all that been put on paper say read my writing and
thinking. What you think no time on the earth no more but in the ground no time in the ground. l think
the world will not hide anything from do l need not need to know everything to go to heaven. if l don’t
learn all that are out there how these things work in the world more are out therefor more to see or
hear more for myseh’so on. The voice l am hearing you add more lborrow the world time for a few good
days i reserved all the rights for my word because that is watch am God word not a man because i will
leave but my words will be with me. This is what God gave to me to give to the place we are l do not do
you have moving thinking in me time keeps living. l always look for some benefits that understands me. l
hear the word old boy what happened to young boy i thought they grow young first and then becomes
old later find you in my mind live goes but you can see when it comes. l live under smell l will follow smell
or smell will follow me smell know you. Do you know you living in the world or smell is a good thing for
future to come. Do you think ifound all the things about is the smart things never seen in my life in your
mind you cannot erase or wipe ciean. if you see two things this book you take one out holds on how can
you do that. When you did not write the book why we are just visitor in here l can not have the same
living name and the same in the ground can you name this book lt already has a name.

 

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i think that l said when you read this book you will know you are saying that is not the truth. How can a
book that you are reading it because you open the book to read. $o your knowledge open the book your
knowledge reading the book. This book knows you because the book on all the face looking word
company The book words talks about you, no the words does not talk. Well what do the words talk
mean then. Don’t to there with that what you are saying just keep reading and have fun with your
learning and mind. Do not come to me with nothing because this book will never shut up because it been
open and can tell all the words you be one that knows every word from talking. l said let it go on and on
in his knowledge and you will know the way the way meaning are everything in its on turn. lt’s turn the
knowledge back to you lsee you learned bowl work. The words are you this book will go on until you
stop putting the way it is here a man told me l want to be God. What do so say to that but l will say this
and i will be guessing and that us not good or right to guess but it came in my writing That sunshine kill
you and me it takes something from your body such as sweat from your body. lt takes whatever it won’t
from your body ifl say.

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This book does not fit in other books because they does not has another room to hold all thus knowledge
that this book carries around with it. So book your cannotfit in but your book had some knowledge from
my words. This book was lost and you put it down. How it was lost you have to find the right way to
write and tell someone how it goes. How do you know how it goes? This book let you see in your mind
not only darkness but light that can read about read about words that goes together in a since. When
reading this book you will hear many things aboutfiting to stay in here. l.ist l am trying'.to find my way to
a longer stay here so let me help you understand you said you are understands i need to get from
understand and just stand. The way l was thinking that your was lost it needs my words speak through a
device and through my mouth. The machines that talks to to understand thing or the world words. l am
looking to find out with that machines haw a man and woman can live to be 150 years old. Learning a
machines to think and know how to tell about human body parts. Once a machine can know about all
the parts or a man organs in their body. The machines may have a chance to help prolong life it will
know what it takes to keep you alive for more time on the world piace.

 

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Everything have a reasons to come and go through the time that came to me never been sleep. How can
that be it never came to time never been sleep how can that be. lt never came to it was already working
here maybe where did. it came to at is this the thing that makes mistakes These words are not true what
words are not true time cane to. All are them cane from something the way they think . This book cannot
catch anything but when you catch death this book will hold it whip out your hand. One page came to
this book did you come out that dream what tecogy you a re looking for from l came too_ Did you wake
up is this the right technology for the world came too. What technology do you find start catch death
who started catch death there are no win to catch that and hold. $o it can not get away again start came
here start came too what did you mean about start come to start was not sleep. That l know about you
don’t know about that about bringing something to someone my brain brought this to see. lfyou can do
anything with the way these things go and comes in time it starting time to move you was not born to
know these true had started up and never to be turned with your hand on or off_ The only power ofthe
world start moving these ways are ways start time by doing there ways or your ways. Everything has
there on way are putting words the way they go the reasons START FOLLOWlNG.

 

 

Ca_S.e 5 : 18_6_ _0007 3 _ D C_MT F) 66Um6 nt 1 §..1166 ...... 97 /O 5 / 18 ......... 1336635 ..... 6f 1 2 1 ........................... .

lfyou did not build it or have it in your mind. lt is not your mind. lt is not your take is that the only way
you know how to take to build your rich off other people knowledge get your own and give mines back.
What you think you did this book has facts. Looking at itself so clean that it can not see itself through his
or her eyes. lt only sees itself through the world l miss the dead l own my own number of pool to be
played on paper sport football. THE BUGGEREST WiRD l$ LEADERi l l

 

 

C age 5 : 1 8 C\vl 00078_ C...._l\/| T P ............... D6.6U me n.t 1 §i..led ...... O.7/O 5/.....1..8 ............... Page?,@ ..... Of 1 2 1

ida not want my picture on my money ljust want in God we trust money in my pocket You are not a
poor pay just come to all visible are invisible thank to all so left s one aut. i like to bank thus one in the
side pocket hey look like someone always digging my pocket to pay some bills all the time. The time l’m
here it’s time for me to dug in somebody's bank are l can get in your pocket l arn not that big only 210
pounds just put it in my hands. l will put it in my pocket put what in your pocket your money will go in my
pocket no it want it’s too big well the bank will hold itfor me. You are in living words in here the word
live word breathing the word world it sees the word to tell them what to do. You cannot say you don’t
know what do am talking about you need the word you cannot get around with thought the word that
we put in the book on your earth. l wrote that word that is the reason white and black. l look at the
moon and see black and white in that moon and black and white on earth the moon half is the moon be
hold and then it goes and come. in a half moon is this a way the world people look different from other
people. What do you see you see the moon another Way l can see it just like it us the black was round in
the moon and left and comes back, When the moon is full why it left no answer from me. Where did it go
you tellme then the wife shines came as a halfifmoon so where did the miss go to the moon. took over
the world and over you also that is why it comes to see your day and night look for yourself. That is the
way God made it up. The moon works for you very hard for you to try to keep it right for all the good of
God and me the moon has to keep the sunshinefrom burning you up. The moon is an your side because
when l eat l can not eat anything that has been left in the sunshine too long, lt will kill me or make me
sick germs come up on you. if eaten that food Will be bad for me and you. But the moon keep your food
and you and me cool. it keeps it your food and meat in cold or cook just say it keep it stay cool. People
asked what religion are you l said l am a child of God that have me the words to tell this. l said a book
that nobody want ta read. Why did you say nobody do not get it twisted all up. When l am dead and
someone find his body how can a dead body going to say, l found his body how can a dead body read it
can not ok which one holds the most part if your body the sunshine or the moon. l was pretty built not
just me and you the face or a man and a lady is built to look and see me and you togetherfor what to do
right yes but we did wrong who said we did wrong to come here l came to see that pretty lady are you a
woman to help me tofigure it out. ls that the reason you cane out here she cane to see me no you came
to see what was going on down her yet and then lcame back and got you are you came on your on l can
not tell itjust right butjust close to right as l can be figured lfigured you are fine to me Wyou are
getting fresh with me. Well how did it start then l am trying to rainbow you was unwrap from the peace
that is miss. l think something was missing God made it all together, l do not see it all but it's Out here for
you to see what are you saying you needfor yourself you k ow better than me. l am just using the pen to
write my life l did not write your life write your own do not look for me to do your work for you. i don’t
know did l do a good job on my thanks to Willie Neal lVlartin for taking a chance with a man to bring me
in here on earth.

 

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What are you going to do with your knowledge huh bro let me put your knowledge in my book of your
knowledge say we may come up with somethings when your knowledge and my knowledge knows one
from the other become the book of knowledge from things that knows me. l rise like the sun and go
down like the man lam thinking like the sun and my body l don't know but l think a lady to me looks like
the moon in its on way. Why did you say that because the moon you see me or what do you see in that
moon shadow. When you look in to that moon you see a dh‘ferentpictures in the moon all the time. The
moon make a things that l can see are amazing like that lady look like the moon are cut in halfs one
people say the moon are wasting. lsay the moon is shining to show you what it has in it the moon has all
kinds of break in the commas rules or the world your mind help this book. it’s s one things beginning on
that makes a change everyday that is not on your book you put it in this book ineed you to put all
people know lease on people books. People that are smart y iu all are in my book the Face Looking l\/ly
Company come with me and give it your bestfrom all the great mind or the world is theyfor me. This
book was unknown untitled l came to tell it.

 

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l was talking to be left paying some bills and a man was talking to me when l told the lady Paying some
bill and a man was talking to me when l told the lady are the ladies that was waiting on me. l had pay
my bill and the man saying make by something l said l will buy your knowledge and you can show me
how to make at my money back . He say l show you how to double. Your money back l say how he say it
back .l went on buy my way the black can cover the moon as the black cloud come pass by the moon you
can not see the clear moon at that particular time when a write cloud go across the moon you can see
through the write cloud be able to see the moon shine then the sun know the moon andl think the moon
know the way to stay awayfrom the sum and the sun and the sun know how to stay awayfrom the
moon they know man and lady you do not know the sun and moon like they know you this is thing that
know you do all the time and do it never forget know the world never forget about tomorrow is coming it
not like me and you l will forget thing l need to do are use in that day are night time and at night are day
l did not forget to put this book and at night are day l did not forget to put this book in your from mind to
your you do not have this book will here. l am pass it to you take it andfind some of the thing are moving
from hereto here l came in the world with mother but l won’t to have something to live for why l arn
living in earth l came here poor but l like to have some money why living in earth were are my money it
must be hiding from me tell me were the hiding place at and l will go and get it before you get it back
again did a man had to die to be on his money l never seen a live man on money

 

 

.............................................................................. C6_865 :...1_8_.6\/_ 9 9..978_ D C _ |\/| T P 66Um6nt1 §116€1 97./95 / 1 8............._ P.ag.e 8 96f12 1

Beginning to ride a new unicycle haw to ride a new unicycle is easy. The old way you used to ride a
unicycle is no more. team the new way without hurting yourself the three wheel unicycle are you looking
for a fast unicycle to ride here is one. To build the bike unicycle l will put a front wheel handlebarsfor to
frames under a bike and weld it to a bike under the bike at the center parts of the bike and l will use thee
back tire of the 26 " tire and chain under the center of the bike and l can pedal the back tire under frame
of the bike. This is the bike that is turned into unicycle motor unicycle or a pedal and chain so you have
one bike with three wheels and you have a bike with one tire and rim on it made like the old unicycle but
the new one tire and rim on it made like the old unicycle but the new one tire and rim have sprocket
wheel. We are adding a sprocket wheel to a bike and it will have three wheels unicycle. The way l had to
tell you about this bike so you can see what l am saying. if l build one bike and with three wheels and l
can take the seat and the pedal and sprocket and chain and rear back tire and rim and tube and sprocket
off the training unicycle bike half and put it back together as one training bike. Cut the bike from the
unicycle and add the unicycle to the bike motor sprocket. Of l need the motor sprocket to drive itself

 

.. . . .. . . ...Case 518_6\/_99978_€_|\/|`1'1;) D66Um6nt1§||6d 97./95/18 ........ Page ..... 49 Of 121 ...... . ......... l

You said you would not look for that what will keep you from being missing. Well l always think about
things that work in the world of man and woman. But l like to talk about words and numbers the leaders
is one. Thefailow is number to and on and on lalways have a problem we with words and numbers
What problems does you have with number. The number to, what are you saying about the number to.
You are l have to look at that number very very, good l do not know what you see from numbers to but l
see a lot of things that came to from that number to one started two. Wait hold up you said who came to
so you are saying someone came from to or cane to life and came to. What are you looking for the world
will never tell you all it knows because you will be smarter than the world. This is the smartest world l
ever knew and l don’t know it all. Did you add all it together to get what you need. What came to your
mind? l.ife came from death or life came from life. The world tells me what l know l thought you told me
what l know as a person but you did nat tell me all of this, l came to. What inspired you to write a book?
The world want you to know and learn things that or her has to give to the one that are looking to see in
the mind of things that makes the world will not have to work so hard so you are the world helper. The
kind of knowledge only exist in 2000 A.C. will you be inspired? Learning how the world ask you will never
learn how the world ask tell that to someone else this thinking are different or reading. What happens to
the one that didn’t come to the world came to the beginning of his time.

 

 

................................................... . __ CaS.e 518_6V_99978 _...C..._ |\/|.T P 66Um6nt 1 . . .. . § il 66 97./9 5 / 18 . Pa.g......64 1 Of 1 2 1 ' ` .

 

Night does not make no sound but can feel day and night because they be hot and cold but you did not
hear what they said. What did they say | thought | had already told you day told night get out the way
`l'm coming too. First born air that is what came first no l do not know what you are talking about. l am
talking about someone’s bring air here to and all things that we use on earth was here when | came
here. | can tell you what l did hear you don’t want to know what l bring to the world. l bring dark to the
world and smart came With me to tell talk to listen to what it said talking has to be quiet and listen to
quiet then quiet cannot tell what it does only it you smell my name backwards l can tall< to quiet can
you. | am a quiet book until you bring me to read who want to read your learning want to know your
brain quiet does not have brains. |Vlan you are confused l can think who can think quiet. Find the
meaning of quiet it's no noise Trebor is not dead that’s me my name is Robert spelled backwards Trebor
hey | told quiet | live no you told talk l live so l found quiet in my body and l name it Treborjust as quiet
as night and day.

 

 

C 386 5 : 1 8 C\vl_ 99978_€_1\/|`|'1;) ............... ..GCU m 6 n t.. 1 ..... § il ed 97./9 5 / 18 .............. 1366 6......42 O.f. ..... 1..2...1 ..................................................................... l . .

The world except everything it's never turned around or turned down anything always come to the world
andfoes not say no you cannot come in my world. That l know about all things come here. 2hst do you
want are calling me to c ome somewhere l can not tell people. What l know they need to tell me what
they know people have different ways they think of things in here . l pinched myself and l felt real to
myself this his really happening that your mind put it on paper came from the word. You has to keep
going under until you reach that point of no return you can keep book just return the knowledge so it
will learn that. lt is so much being talked about and we are in some of the things that no one on esrtth
really know about because there are so much knowledge that was discovered in the way we used words.
Really no where going over here and some other say they are going over there l know the world will sack
you up into the appearance of the looking in disappeared off the face the earth. Where did you go l went
to that place God company l thank Godfor waking me up and putting me to sleep and waking me up and
again. $ome people make sure they talk to God from talking l sat what do you say to enter your
knowledge has to tell when you get there do not stutter because you prayed to your body to be clean in
the heavenly place the world came to see you go there. What do you pray l prayed to live everyday on
earth and in the world. lam following my life or live the first time came to the world. l would have to
come back to the world or the earth l got put out.

 

. ..................................................................................... C as 6 5.._'....1 8_..6\/_..999 78 _ .C..._ 1\/| TP D.O 6 U m 6 nt 1 §116€1 ..... 9 7 / 9 5 /18 ............... P 366486'1: 1 21

if my machine know what makes me age it can have a way to stop aging. l would say but l like to tell is
what we a 'll do tell somebody something lhave a tell and smell and talking about saying people on
earth for some more thing to do on this place. l\/ly words knowledge machines computers smart smell
and tell will tell you about how to talk on copy right paper. Robert l\/lartin claim all computers talking
phones speaking and talking device, l was the firs t one to tell the world that l had found a new idea in
the line or mind that think like me. This is so close to a man and a lady that tell you things that you need
to know. Now l see that do many companies done built some talking machinesl Do l have to tell you
more about other companies getting paid for their work and the have me on hold But will be
acknowledged for bringing the age upwards from a machine that knows me and you. When it learn all of
your saul so so it is average in quality pronunciation translations and examples learn more of my
languages speaking words English phone computer that tells your phone to keep my message until you
ask for the information maybe as l tell you that this phone is my machine t We know how much heat it
takes to keep my body long and hot my machine knowing it has to tell the message we are looking for
justice from the world of talking and speaking and moving. information thought you understood talking
English language machines that has a mind to tell you something it know we are talking to a laws with
patent lawyer USA about money or a patent to the idea that came first to the USA in American and the
world, lt knows you ifyou talk to him coming from list tofound you did not know but l did. ifound this to
be in working and thinking l never was lost l found another me that just like me on one side. Oh yes l
would like to talk or elaborate on my bicycle that l rides and built a four wheel bicycle with a motor on
my bike and then l came to the town lfl_iberty, Ms. l can ride my bicycle two ways motor or pedal it. l
was violated by the law of the town of Liberty and was band out of l.iberty on a bicycle. The judge told
the police to take my bicycle if they see me on the bicycle in tiberty, l\/is black people are tired of the
judges and his police breaking the lawfor some and oat others on the back and l don't tryst this U$A
system we need a camera on all people in the law business then we all will know the law and what it
stands for.

.................................................... _.C 68651 8 _6.V_.999 78_...C B _ 1\/|.`1'1;)....__......1;)0 6 U m 6 nt 1 §11 6 d 97/95/11;)6_66 44 Of 1 2 1

lam the smartest man in the world. Why did you say hey to the word so word talked back to you. Yes
what did you picked out your mouth words. l thought you talked words l can say anything you has to talk
for me words you speak for yourself No l just sit and wait until you use me in your writing or talking
words you does not has to walton me go to someone that can help you move around the worlds Where
ever you are going Words how are you dying and you run the whole world and you said you cannot say
anything How did you stop and l had to pick up and use words in things and places. lt bee d to hein
words tell all the story on the world it shakes all kinds if things without words. What would it be like you
don’t know nothing That is like l am dumb who is dumb no word man you have wards to make you have
think make you have knowledge words does CU. Can you find the meaning of you wait CU. ls a word it's
not me who word it CU$. l-las it's own word l thought you have all the words l do not know how to
explain all these words stop out to g pressure on me to explain all these words. l\/ly hands and words
think alike in your mind.

 

 

.............................. C as e 518_0\/_0 00 7 8 _ D C B _.1\/1 TF).......... .D.O C...U me n t 1............_ §1.1.9€1 0 7 / 0 5 / lPaQ e.....4 59'1:121

One time l was talking to a lady ll said l spent the night with you last night l didn’t tell her Where the
night at, She said to me no you didn’t stay with me last night then l said yes l did lstay with you last night
She said not at my house lsald l did not tell you at your house she said your wrong. l said it again
thinking she will catch on to whatl was saying l was saying l stayed in the world with her last nightso
was that right what l said. l was in the world all night in her mind did not think about the world that we
live incredible though building software that knows words. The identity and discovery words talking and
smart smell and tell you things that l know.

........................................................ C aS.e_....5 : 18 _CV_Q@@78_D C... _ 1\/1..`1'1;2 ............... .O C U m e nt 1 ................ § 11 ed ...... 0 7.../05 / 1 8 _......1;2..3_.©€ 4 6 91 . 12 1 .. . . .................................................

You told me to close my book it won't shut up. lt seems like hot has it on mouth mind and do not know
when the right command or code to stop or shut up. Who are you talking to yourself how can you talk to
yourself When there are the refrigerator to the house, the car, and the moon the sin and all the things
around you are the that making the sound are they talking to that stranger. You are talking like that’s
who are talking like that what are they trying to tell me about shut up. The word stranger come from
everywhere from the unknown outside looking in o dhj°icult to understand if l explain itsel)c am l relating
to the things another origin not before a known sound are you your own boss. Do you really know who
you are talking to out of sight well what about in sight on true out can be the true because the things we
seen and do. The one true came to meet the world l came to meet the world you came to meet the word.
How many are you are that’s is three you just said the world needs itself. l came to meet the world for
what yes lsaid that where did you come and meet the world at. you ask a dumb question give s dumb
answer l don’t have dumb anywhere l say is meeting on earth how can you say that and the world is the
earth how can you separate them. Who are you talking about them words are separated to words mean
the same thing no to words me and two words Well will you bring me back to where l meet you are
where we are meeting the next tlrne. l'm trying to get a ride to the meeting place where l come from.
When l come and meet the world my eyes open and l seen a lot of things with my eyes can you see what
do you know that never c asme to the world, lsald l\lE\/ER came to the world.

 

 

........................................................................................ C age 5_._'....18 _CV_ 9007 8 _..D C B_M TF) DO@ U.me n t 1 _......§ 1._1ed _..._Q7 / 0 5 / 1 Pa.g e 4 79'1:12 1

l\/iy name is Robert and l claim this winner. The name is putting in all things ,to eat,to drink for everyday
life for a man or a woman to take or drink when we drank water, beer, coke or anything to drink. Are
eating you come up with the share the hygiene or bad smelling air out my mouth. l am looking for clean
air out the mouth my mouth. l am looking for cleaner air out the mouth of all people or out there lungs
inhaling or exhale the breath inside my breath. My breath without a final eis a noun meaning air from
people or cats and dogs. lvapor order l am trying to give all people a good order from the new name for
hygiene maybe not hygiene but this smell good to bad breath for everybody The medical students were
asked by me how can they treat the world bigger odor from the mouth what can i use to have good
smelling from the mouth is no more bad odors. Can this be done? l think so With the adding to thing we
eat and $ri k everyday, will have you with a good smelling breath all day everyday. i hope l cover all
things that we put in our mouth but the one l am looking g for good smell out men or women mouth
odors

 

 

................................................ C as e518_C\/_Q@O 7 8_... C _ 1\/1 `1'.§......._ _.O C Ume..nt 1 § 11 e €1......@7 / 0 5 /_.18 §..ag..........e489f _.1..2..1

To the one that know and the one that does not know about my certification of micro ENTlTY status
gross income basis for my title of invention smell and tell first named inventor. The application hereby
certifies the following 1 small entity requirements the applicant qualifies as a small entity as defined in
37 CFR 1,27 in 4/3/2005 l out together a copy right paper invention about a pistol camera picture short
pistol phone camera a computer idea. it can used for the lnternet but l have not build but l started
building the communication concerning EXAMINER CARTER<AARON WARR 2665. l had to file a new
petition to revive information sheet USPTO on the 9-12-2016 to the idea Design studio company from
Robert are saying you did not send in the x change or the software to the project we hope yo_u can
provide the things that we may need. if we do not it cooljust to remind the things that goes around and
around and come back. Where it left from please let it find it”s way and see who in this with ownership
interest applicant From one that think who think like me no one that l know that you may say l never
talk about this talk about it then. l think His like for me to talk about him as long as it something that
nobody knew about and it's a good true besides the things that l see in him world and on his earth, l
alwaysflnd things to be in your world of living and dead but this not dying that lam seeing in my mind
that God want me to tell you all about or it just me think like this maybe this and hold some true in this
family or God's family inever heard a,man or woman say that God has a, family i hope that l am not
wrong about thinking that go has a wife in his life no one never see his wife but you have to think like you
never seen God but you say you see his kids iesus. l think l see his wife but you have to think likely never
seen God but you say you see his kids iesus l think lsee his kids everyday you and me that made. i-iow do
you think from the power of got and his wife l think l am the only one can see in the earth and see these
things happening and you say this is not happening you never told me it happen like that’s why people
hold things back in there mind and never bring today and tomorrow to see the good tha t god and his

l family bring everyday for me o earth love always to God’s name. A man that ask God from a man that
dies not know how to go to heaven and how to get in heaven or teach rne in that way l will because l
believe this is true and we cannot use nothing in this place or the true beginning when l live in this place l
call the world. i think i was in heaven once before and was kicked out through the air that turns to water
and got showed me everything that l know and everything makes a sound death does not have a face
looking company it's a face dark company it looking how to see when you getting gin. i will get in the
best one they came together but they go on way. l think a dark start comes and get me and takes me
with it death started who said that the place you will go there say things that you and me trying to
understand death started before life the beginning death comes up on me and the earth and will never
leave until lt gets what it cones for start death with what the world was not to hold an me. l have to
follow the law rule in places that l live at so l will follow the rules and still can not move as lsald before
everything moves in the world so how can lset still. Why everything else moves so death start moving
also from one thing to another thing not just in man and woman a lot of things to get in. Do death need
loving to maybe or maybe not. What comes here for your it needs a reason to come and get me death
does not need love. How you know that death does not need to tell you and me anything about how it
works it's a job you try l g to be funny this is notfunny this a job to return death to its rightful place
without sending me with him maybe that happened l may have used the wrong word him it has to be
him or her ofit's a thing or nothing it something showing a reason people makes a decision. Do death
bother death what death doing to me as l live from somewhere and get to have peace with yourself You
have to be clear as rain in your mind your mind will give you rain from your eye and the eye. The eye
water us the thing that try washing the sins away from your brain one thing that i like about rain it’s
separate if the rain came all connected it will be too heavy when itfalls down on melt will smash me in

 

.......................................... CaSe5 18 _.@._ ._ 0 0978_€ B _ 1\/1 `1'.§......... ....DO €...U.m e.m.t _...1 § 119 d 0 7 / 0 5/1 §ag e 49.....0'1 1 2 1 . § .

the ground. l hope the rain keep raining in drop and not never be connected together to set apart the
rain is in o group where is your mind now lay me down to sleep my saul is for who to keep before l wake _i
my body is yours to take how can l stop you from taking it. lshall die before l wake l am here for you to 1!
take and my soul will give automatic rest in the tined forever of true smell rotten stink. l live or smell l die §.
l smell stinking what are this book looking for? Away l know the way out of death or death after life do
not let it catch breath. The smell back to live breath it back to where the rotten was you live because you
cannot smell stinking when you are dead that place give up something to get something it give you up
to. For life how can you live in that place? Did my teeth get mad with my body and left my mouth like no
other part if my body my nail and whatever falls aff you is it just make me mad with smell or mad with
rotten are mad with stink are mad with dying or mad with death. What is mad death is there a Happy
death smell comes from a smile.

 

.......................................................................................... CaSe5 : 1 8 _CV_9997.8 _ D C B_1\/1`1'§O Cument 1.. ........§11 ed 97 / 9 5 /.1.........8 § ag e 5 9 91 1 2 1 .

Come by smelling to smell come by you bring mad U like to use one letter at a time out or mad the m is
mother the a is and the dis daddy. Do you think when l drink water is clean as we say it is l said this to
say this water is the ground and water comes from the ground. l am drinking somebody out the ground
the rules of death and then you cannot break those rules or that one holds in your life. What time was
the world was born in the earth and then people cane to be up on the place or the death modness. Th us
book only tell what it sees on his earth when reading a book and not talking out laud. l can think what
that is l am confused sometimes so what was you stopping one word when you kept reading in your
mind. l can always find things to come out me do l talk to think or think to talk. lthink you use both of .
them at one time go visit your mind how fear is it noses smell. l do not know l never left for the test to
see the smell test your self and we will know this book is trying to leave and go to the other side of the
world for what to see things happening i will hitch hike a ride with who hitch hike going that way for
what you say the place. l was thinking was the digital like word are the world is this book running from
the word to the other one. What other one you talking about what does air do with smell air takes smell
somewhere to the digital death dream or to dream digital air you know yourself start thinking about.
What your life as a smell one why you did not stop spot think when you was small you did not have the
control of my mind well. Well who had the control of your mid start thinking had my mu d in control of
the world of the man. Did you say starts starts have your mind start thinking about what your life as a
smell one. Why you did not stop spot think when you was small you did not have control of my mind.
Well who had the control of your mind start thinking had my mind in control of the world of the man. So
you said starts starts have your mind now are this time we said. Who can smell the longing well go and
take a bath. l am talking about as hold that l am talking about so l like to tell you about two people
making love isay that was a number ten. They was doing the number ten you brought me in the world .
lfl did 8919 and use 10 back andfarth one moves 891 so i move the nine and got 10 can stop stop. What
was you looking at when stop start it starts when istop no it never stops it always start stopping But it
cannot stop itself it says keep going who are you talking to control start waltman you have under
control. l quit so i give up are you stop now l am start giving up to the world stop riding stop cannot be in
the way of moving move can get stop started moving as the world move live people and dead people
move with the world the moving that move start moving where are you going the dirt leave the ground
and blow up in the air and across the earth. The air and the dirt have a shape control think but i control it
for 58 years with no win in my iife. The book that controls this only think like this l see here and know l
am a living plant and to plants seeds and earfrom a lifetime seeds in the ground and they move up on
the earth from the moving of things that was in the ground that came from seeds fire is what l have in
my body that keep me warm it easy to be able to make contact to.

 

. ....................................................................................... G.ase 518 _C.V_9 9978_€_ 1\/|...`1'.§ ...... DGCU m e mt ...... 1 ............ §1..19€1 97 /9 5 / 1.8...._ _...§..a.ge 5 1 Of ...... 1 ..2....1 ........................................................................

i am the smartest man in the world. Why did you say hey to the word so word talked back to you. Yes
what did you picked out your mouth words. i thought you talked words i can say anything you has to talk
for me words you speak for yourself No i just sit and wait until you use me in your writing or talking
words you does not has to walton me go to someone that can help you move around the world. Where
ever you are going words how are you dying and you run the whole world and you said you cannot say
anythingl How did you stop and l had to pick up and use words in things and places lt bee d to be in
words tell all the story on the world it shakes ali kinds if things without words. What would it be like you
don’t know nothing. That is like l am dumb who ls dumb no word man you have words to make you have
think make you have knowledge words does CU. Can you find the meaning of you wait CU. is a word it's
not me who ward it CUS. l-las it's own word l thought you have all the words ldo not know how to
explain all these words stop out to g pressure on me to explain all these words. l\/iy hands and words
think alike in your mind.

 

 

............................................................ C aSe5 1 8 _CV_ 9 9978 _ D C B_|\/| T§@ C..U m ent......1 §119€197/9 5./....18 § age.....5 2_.._ 0:1:.......1 2 1

What are you going to do with your knowledge huh bro let me put your knowledge in my book of your
knowledge say we may come up with somethings when your knowledge and my knowledge knows one
from the other become the book of knowledge from things that knows me. l rise like the sun and go
down like the man l am thinking like the sun and my body i don’t know but l think a lady to me looks like
the moon in its on way. Why did you say that because the moon you see me or what do you see in that
moon shadow. When you look in to that moon you see a different pictures in the moon all the time. The
moon make a things that l can see are amazing like that lady look like the moon are cut in half s one
people say the moon are wasting. lsay the moon is shining to show you what it has in it the moon has all
kinds of break in the commas rules or the world your mind help this book. it's s one things beginning on
that makes a change everyday that is not on your book you put it in this book ineed you to put all
people know lease on people books. People that are smart y iu all are in my book the Face l_ooking l\/ly
Company come with me and give lt your best from all the great mind or the world is they for me. This
book was unknown untitled l came to tell it.

 

 

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Where did the world came from were are the world going l like to know everything l thank many book
left out. l did not know so this book trying to find all the things that you want to know about the working
of all things everything has to eat to stay here. l think everything on earth is living in it way what is the
world doing growing orjustspending. Can you ask the world anything do the world tell you what to do
how old will the world get. Can you tell this book anything can you say this book is wrong well my it
knows how to get it right. if l had a chance to tell this book something what would it be that you well tell
catch that death before live catch death. lt seems like a race in the time we live in one trying to catch the
other in the i_n the wrong. What are the meaning of come to was the right you was sleeping and come to
or they call that waiting up who said the world came from somewhere When l leave there will never be
another thinking like him. l came here to pass by here ever where l went l passed by the store lpassed by
your house. i can not say l arn passing through here because l will be going out the world and how can
you do that everything is still on earth. What left out of earth are world l see another left the world. You
may have hid somethings and can notfind it no more. lflfind your smell can l cologne your smell. You
smell yourself meaning more than a bath the way l i think is this book from earth is from some where
that the unknown. This is not a movie thing that's happy you did not see come to you. Where do thinking
come from they say the mind well body should already wrote this book if all thinking cones from the
mind.

 

. ...................................... C as e 5._1.8_€\/_ 9 99 7 8 _ D C B _ 1\/1 T § ........ ..O C U mentl §11@ d 9 7./9 5./ 1 8 .. § ag e ....54 Of 12 1 ...............................................................

You said you would not look for that what will keep you from being missing. Well l always think about
things that work in the world of man and woman. But l like to talk about words and numbers the leaders
is one. The follow is number to and on and on l always have a problem we with words and numbers
What problems does you have with namber. The number to, what are you saying about the number to.
You are l have to look at that number very very, good l do not know what you see from numbers to butl
see a lot of things that came to from that number to one started two. Wait hold up you said who came to
so you are saying someone came from to or cane to life and came to. What are you looking for the world
will never tell you all it knows because you will be smarter than the world, This is the smartest world l
ever knew and l don’t know it ail. Did you add all it together to get what you need. What came to your ,
mind ? Life came from death ar life came from life. The world tells me what l know l thought you told me 1
|
|
|

 

what l know as a person but you did not tell me all of this, l came to. What inspired you to write a book?
The world want you to know and learn things that or her has to give to the one that are looking to see in
the mind of things that makes the world will not have to work so hard so you are the world helper. The
kind of knowledge only exist in 2000 A.C. will you be inspired? tearning how the world ask you will never
learn how the world ask tell that to someone else this thinking are different or reading What happens to
the one that didn't come to the world came to the beginning of his time.

 

 

C age 5 : 1 8 C\vl 9997 8 _ D C B_ 1\/1 T §.... . @Cumen11§11ed 9 7./9 5./..18 ............... §age55 ..... 91 ...... 1 ..2..1 ............................................

The world except everything it’s never turned around or turned down anything always come to the world
andfoes not say no you cannot come in my world. That lknow about all things come here. Zhst do you
want are calling me to c ome somewhere l can not tell people What i know they need to tell me what
they know people have different ways they think of things in here . l pinched myself and l felt real to
myself this his really happening that your mind put it on paper came from the word. You has to keep
going under until you reach that point of no return you can keep book just return the knowledge salt
will learn that. lt is so much being talked about and we are in some of the things that no one on esrtth
really know about because there are so much knowledge that was discovered in the way we used words.
Really no where going over here and some other say they are going over there l know the world will suck
you up into the appearance of the looking in disappeared o)j" the face the earth. Where did you go l went
to that place God company l thank Godfor waking me up and putting me to sleep and waking me up and
again. Some people make sure they talk to God from talking l sat what do you say to enter your
knowledge has to tell when you get there do not stutter because you prayed to your body to be clean in
the heavenly place the world came to see you go there. What do you pray l prayed to live everyday on
earth and in the world. l am following my life or live the first time came to the world. l would have to
come back to the world or the earth l got put out.

 

.................................................... CaS e. . . 5 : 1 8_CV_.999 7 8 _CB_MT § ....O C U m e nt .. 1§11ed 97 /9 5./1..8 _.......§a.g e. 56 01.._ 1..2 1_..._

`To the one that know and the one that does not know about my certification of micro ENTlTY
status gross income basis for my title of invention smell and tell first named inventor. The
application hereby certifies the following l small entity requirements the applicant qualifies as
a small entity as defined in 37 CFR 1.27 in 4/3/2006 l out together a copy right paper invention
about a pistol camera picture short pistol phone camera a computer idea. lt can used for the
internet but l have not build but | started building the communication concerning EXA|V||NER
CARTER<AA'RON W ARR 2665. l had to file a new petition to revive information sheet USPTO on
the 9-12-2016 to the idea Design studio company from Robert are saying you did not send in
the x change or the software to the project we hope you can provide the things that we may
need. lf we do not it cool just to remind the things that go around and around and come back.
Where it left from please let lt find it way and see who is in this with ownership interest
applicant. From one that think who think like me no one that i know that you may say i never
talk about this talk about it then. l think His like for me to talk about him as long as it something
that nobody knew about and it's a good true besides the things that l see in him World and on
his earth. l always find things to be in your world of living and dead but this not dying that l arn
seeing in my mind that God want me to tell you all about or it just me think like this maybe this
and hold some true in this family or God's fami|y. | never heard a, man or woman say that God
has a, family l hope that l am not wrong about thinking that go has a wife in his life no one
never see his wife but you have to think like you never seen God but you say you see his kids
Jesus. l think l see his wife but you have to think likely never seen God but you say you see his
kids Jesus l think l see his kids every day you and me that made. How do you think from the
power of got and his wife | think l am the only one can see in the earth and see these things
happening and you say this is not happening you never told me it happen like that’s why people
hold things back in there mind and never bring today and tomorrow to see the good that god
and his family bring every day for me on earth love always to God’s name. A man that ask God
from a man that dies not know how to go to heaven and how to get in heaven or teach me in
that way l will because l believe this is true and we cannot use nothing in this place or the true
beginning when l live in this place l call the wor|d. | think l was in heaven once before and was
kicked out through the air that turns to water and got showed me everything that l know and
everything makes a sound death does not have a face looking company it's a face dark company

it looking how to see When you getting gin. l Will get in the best one they came together but

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they go on way. i think a clark start comes and get me and takes me with it death started who
said that the place you will go there say things that you and me trying to understand death
started before life the beginning death comes up on me and the earth and will never leave until
it gets what it cones for start death with what the world Was not to hold on me. i have to follow
the law rule in places that l live at so | will follow the rules and still cannot move as | said before
everything moves in the world so how can l set still. Why everything else moves so death start
moving also from one thing to another thing not just in man and woman a lot of things to get
in. Does death need loving to maybe or maybe not. What comes here for you it needs a reason
to come and get me death does not need love. How you know that death does not need to teli
you and me anything about how it works it's a job you try to be funny this is not funny this a job
to return death to its rightful place without sending me with him maybe that happened. l may
have used the wrong word him it has to be him or her of it's a thing or nothing it something
showing a reason people makes a decision. Does death bother death what death doing to me
as l iive from somewhere and get to have peace with yourse|f. You have to be clear as rain in
your mind your mind will give you rain from your eye and the eye. The eye water us the thing
that try washing the sins away from your brain one thing that l like about rain it's separate. lf
the rain came all connected it will be too heavy when it falls down on me it will smash me in the
ground. l hope the rain keep raining in drop and not never be connected together to set apart
the rain is in a group where is your mind now lay me down to sleep my soul is for who to keep
before l wake my body is yours to take how can l stop you from taking it. l shall die before l
wake i am here for you to take and my soul wi|i give automatic rest in the tined forever of true
smell rotten stink. l live or smell l die l smell stinking what is this book looking for? Away l
know the way out of death or death after life do not let it catch breath. The smeil back to live
breath it back to where the rotten was you live because you cannot smeli stinking when you are
dead that place give up something to get something it give you up to. For life how can you live
in that place? Did my teeth get mad with my body and left my mouth like no other part if my
body my naii and Whatever falls off you is it just make me mad with smell or mad with rotten
are mad with stink are mad with dying or mad with death. What is mad death is there a Happy

death smell comes from a smiie.

 

 

 

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Come by smelling to smell come by you bring mad l like to use one letter at a time out or mad
the m is mother the a is and the dis daddy. Do you think when'l drink water is clean as we say it
is lsald this to say this water is the ground and water comes from the ground. lam drinking
somebody out the ground the rules of death and then you cannot break those rules or that one
holds in your life. What time was the world was born in the earth and then people came to be
up on the place or the death madness. This book only tell what it sees on his earth when reading
a book and not talking out loud. l can think what that is l am confused sometimes so what was
you stopping one word when you kept reading in your mind. l can always find things to come
out me do l talk to think or think to talk. l think you use both of them at one time go visit your
mind how fear is it noses smell. ida not know l never left for the test to see the smell test
yourself and we will know this book is trying to leave and go to the other side of the world for
what to see things happening. l will hitch hike a ride with who hitch hike going that way for
what you say the place. l was thinking was the digital like word are the world is this book
running from the word to the other one. What other one you talking about what does air do
with smell air takes smell somewhere to the digital death dream or to dream digital air you
know yourself start thinking about. What your life as a smell one why you did not stop spot
think when you was small you did not have the control of my mind well. Well who had the
control ofyour mid start thinking had my mu d in control of the World of the man. Did you say

 

starts starts have your mind start thinking about what your life as a smell one. Why you did not
stop spot think when you was small you did not have control of my mind. Well Who had the
control of your mind start thinking had my mind in control of the world of the man. 50 you said
starts starts have your mind now are this time we said. Who con smell the longing well go and
take a bath. l am talking about as hold that l am talking about so l like to tell you about two
people making love l say that was a number ten. They was doing the number ten you brought
me in the worid. lfl did 8919 and use 10 back andforth one moves 891 so l move the nine and
got 10 can stop stop. What was you looking at when stop start it starts when istop no it never
stops it always start stopping But it cannot stop itself it says keep going who are you talking to
control start wait man you have under control l quit so l give up are you stop nowl am start
giving up to the world stop riding stop cannot be in the way of moving move can get stop
started moving as the world move live people and dead people move with the world the moving
that move start moving where are you going the dirt leave the ground and blow up in the air
and across the earth. The air and the dirt have a shape control think but l control it for 58 years
with no win in my iife. The book that controls this only think like this l see here and know iam a

 

living plant and to plants seeds and ear from a lifetime seeds in the ground and they move up on
the earth from the moving of things that was in the ground that came from seeds fire is what l _
have in my body that keep me warm it easy to be able to make contact to. |

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Are my reincarnation who knows the di]j‘erence lsay my name is Robert and what l wrote on paper is some
of the things that know words. is the one that knows me l am words l always thought my body knew me it -
did not work in my mind. When l wear puzzles to know the words on me what words on you only you know
that computer smart smell and tell will tell will tell the identity it knows it discovery people smart things
come into the world and know all kinds. i~'irst so put a talking device on paper that keeps up with talking to
you and like me. l can tell things x side is an invention we put together we put so much together that we
understands on paper and in my mind. Did you ask me what i wanted to who are you registration. l was
thinking about a lot of things but the name aris sleep or dark. l am coming to get me death have my
number the harbor death is when l dig a hole in the ground and cover it up that is death. Death have my
number the age of death is when i dug a hole in the ground and covered it up that is death. We said a 1
woman has a hole with her is that death she carries around and then life comes f from it to. We will talk :
dark some say l am black ifi was black like dark you would not see me. But would go and come like the
dark does. So death live to eat people and stay fat off the things it eats. How you know death is fat or poor
when a cat or dog talk to the other cuts do love meaning the same thing as_people. l think things has
feeling people need eyes all the time and life animals can see without light at night. How can that be done
they have something they eat or drink that makes them happy l needfor you to put they eyes in my head
then l can see at night and need no light to see you do the earth love you forever. How can you make the
earth tell you that which one it does it don't hate earth has the last say about what it will do to you. l
thought death has the last words l am the ward death does not talk it uses word what are you saying so the
moon hold darkness but this does nat say l came from darkness hutto me i never died to come back as or
yet that i know but the looks of things the moon holds some are my body content that are so close to me
and the world air. Do the moon holds all llfe? For things that are dead service just look far yourself and see 1
what you are looking for in the way of going through the earth and world are transverse definition time do l
not ever end how does death end in time no death end in me and send me back to the moon just a thought
l think l am to rest with my people who knows this the world win you came here or send here the world
knew that things dad put here for you to do here and then heaven can be the moon that gives you light and
darkness it's like my eyes the sun does not shine at night moon shines to time day or night l cannotfind the
word to say how good is God to be able to see in things that he gives me to say about the heavens. Where
we live life and treat likes you want to be treated from love that we know very little about yesterday you
under. What you need to do for you to make you know the things that call you to know. What need to live
be a part of time that never end you have a mind to get things that or things that comes from the store. But
you cannot buyjust be right all the time you up and grown and show yourself how to do it right or not or
faced the righteousness this come under the words righteousness. Will make things come much easier than
wrong things l talk too much well i let my inventions talk and tell you a story on its own way, l will be big in
this earth when l am living and when l leave l will get lost in weight l spell no backward and it's spells on
just a thought that we recognize in knowledge and using in my life of living a drunk man walked home one
day they heard something in the graveyard the drunk man thought God and the devil was separated the
dead one for you and one for me this is what he heard two men picking up pecans in that place and they
was separated the pecans and they was talking about the one left by the fence the drunk man thought they
was talking about him he ran and told the people at the bar room. What he had heard God and the devil
was separated the dead and l was sitting by the fence . l thought they were talking about getting me but
the man saw the two men picking up pecans the drunk man had it wrong can you tell.

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Are laughs you know what to smell and want to see which one last the longest which one has
never broken in. ftl have to ask who are you in smell would you be the same to smell lin life and
in heaven if | have a change to ask my people something What would you ask them to you
have to keep the two in your mind do one know the other were about. The mind or other |
thank the truth know always When the lie | am around the world hold all truth. |f | do not know
but you and the world knows you because the world built you and to know you better than you
know yourself tell yours to the world or to God's world telling your lies. I have my own to try to
give to someone i own something and it's true yes the world or many things grass tress air
smell l know that i am the truth because | smell like what | smell like you how can you tell all
these stories | have a good sense smell only hold all this together. |f all noises man can see this
world never make a lie no sense do not have a brain to see the real true what happen to no
sense. | thought all things has sense you want it on one hand back and front of your hand.
Which one is right and which are wrong? lust a reminder. The world changing things so we
can stand and set and lay down we have only three ways to do this the fourth way. Who wants
to know that way one darkness you only have one way to see it that is through the automatic
world. l only see one way looking forward l can see two ways if someone is looking at the

 

things they are telling about the oven smart time. The world has sense so do not try to find no
sense for the world. Because it can be a good thing or a bad thing When two people are having
sex and a baby comes here | think God blows air into life and life comes here or into his wife
and she blows it into and life starts living. Can you take a picture in your dreams night and day
see what in picture drama at that time it seems like it's true in that time zone. Can anybody
keep that picture you cannot remember it to show it to other people recording dream in your
mind or in your night so | think. l can see who l think l was talking to mind pllno and one was
there you think who was there dream who at that tlme. Who are those people | am sleepy how
can | do that the way something works only four things can stick out my body. SOme people has
less parts to stick out my feet my hand my tongue you tell the other lady stomach whatever the

 

world tell you to do ever list at that time the world told me to stay here and get older l am
trying to. Then will leave and go to the only place | know true automatic in you and the World
automatic true is no lie. Can you tell the difference in the world that you live in. Can you see a
lie in you or me with through my mouth moving. |do not see a lie in a tree. l think no can get

something off a tree that is reincarnation did that tree tell us a lie what part you understand
about reincarnation | said | will be reincarnation also which one tell you what to do my ears my

mind and my thinking

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There was penny rolling down the road and one rolled in the ditch and the other one kept going down
the road. The one kept going have more sense than the other one. l kept doing God’s word stands l am
God and his wife or word that everyone is living in. 1 looked up and | looked down and l said to myself
my head looked side to side that is four ways. lV|y head moved ok my eyes can look four ways my tongue
can look four my lips can move four ways my lips. | can blow up and down left to right my legs and for
arms four ways backwards and forwards. When walking and findings four things that my body did the
four things talking out my kind. Why should you write like this the way you think my brain think like
more @heaven free.com.go there and see for yourself that it works in getting up and out of bed. That
was three times and the fourth will be bad | will say man air filter clean air piece mouth filter to keep his
body clean from dirt and dust out my mouth and noise every day. The smartest machine smell can lock
and unlock things for your money go around in circles. l\/iy new device is nowhere in my application
build the device the right way for me the smell and tell device is a thinking and learning device. | put
cognitive technology in some parts of the word processor information faster than man always thinking
about things that make sense. l think they made sense in my life to l on off Who on off on own off is off
on is on off maybe. | am lost l use o | use f l use fto make my point O father future just a thought about
off and if no is on do no mean no Yes smart start when the world came here are here. | can see How|
can get some word out there i got her to see and hear. l do not know are these are words | say some are
words Will death listen when | tell it to stop no death does not have ears to hear. What you are telling it
to death always tell you. What to do l need to change death does not have ears these ears to hear. What
you are telling it to death always tell you what to do l need that to change death and see. Can do things
my way death live stinks so the world has one thing. That it's a need that | see in my life time if you talk
to death what will it say to you. What will say to turn it back l tell death you are right off you were out
the world on the other side. The world just stay there l call you when l need to you do not have to call
me l have to give all the things. | have to be up to digital death communication transmission information
your mind digital air always stay here so l will be in air digital | came to tell you that's why l arn here on
earth learnings your automatic selfthe book is telling you about coming. it will be with you through
growing up and growing down. What are you saying about | said down l will be growing die skin for
someone to use lam growingjust to die. l said one thing death tell all are both what happens to people
my skin is dead. l pulled some off my body and lam not dead to kind of skin when the world was first
built. l was in the beginning of what to come have to wait my time come in this life thinking about a
snake mouth open as wide as a woman. Tell me more who are learning the book or learning me | think |
am learning the book to be smart listing. What you have to tell it to do you think the world is just right
no matter what. What | think the world will do it own thing it dance and you here and feel it when it
moves. lt shakes it body may not like my body the world holds you in them for a little while and then
drop you out its hand into death hands. Who said death have hand something takes over me | fell out
the world hand into earth. Can you see the exchange happeningjust your thought some or the things
invention l never seen in the world. This book does not tell me everything you look in your mind and
give me the way you think | am the only one to come to tell you about who know. This person that will
find you and me rubber line cable clear on pole light poles for cameras to be able to see. | came from
where l am going. l split white because the air my mouth make spit white give me the key to everlasting
time and l will know have to break in. | can just go in and see what you are doing in that spirit world
smell are a spirit how can you tell when something not for you in heaven. The world gives back to the
land l have roots like things that grows on the earth. |s there anybody that in the world does not know
anything l say they know the dream in. They mind this book shows you a lot of things to you see a dead

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or show are you in a dead end two ways to look at that do death have a twice that way. Look at we don't
know about the way find out will you live forever you has to see out what makes you grow in your body.
Then you may have a chance to live a longtime maybe it will be call no more sleep which one or you
looking for life time or all the time. | think that will be meaning we are staying here how do you meant
that no return to the earth. I do not need to be there | need to be in life always cannot be there l just
thought about if l was God. | could have given you all the life you need to be here for along time so you l
know the rest. | wish life that lives at that place you was at before you came here on earth you were `
dead so you know the rest. l wish life that live at that place you was at before you came here in earth
you was dead so you been dead before onetime. 50 you have to die again a two time death is death
scary or death jumps out from your body. | looked at this as it one never dies reading my life and others
are lost in life because they did not know the way of life talk to yourself and you look at things you

- figures out are lot if things. How do you see more to believe in time are l time everybody comes when
there time is here or goes where they like when grow. | did not grow out my body my body time kept
me the only body l ever knew. Do time holds the world are the world holds time as long as the world
been here | never heard no one say or said the world has gotten bigger time keeps the world the same n
side you run time keeps up with you. l stop running and time moving on who his time running from my
time or looking for lifetime your time is looking for what you can never change time. l am going to keep
time away from you cannot keep time away from no one stay together time and the world. l love you
just like you have it the world’s first born family air knows more smart words on paper tell all that been
put on paper say read my writing and thinking What you think no time on the earth no more but in the
ground no time in the ground. i think the world will not hide anything from do l need not need to know
everything to go to heaven. |f l don’t learn all that are out there how these things work in the world
more are out there for more to see or hear more for myself so on. The voice l am hearing you add more
l borrow the world time for a few good days l reserved all the rights for my word because that is watch

am God word not a man because | will leave but my words will be with me. This is what God gave to me

 

to give to the place are l do not do you have moving thinking in me time keeps living. l always look for
some benefits that understand me. | hear the word old boy what happened to young boy | thought they
grow young first and then becomes old later find you in my mind live goes but you can see when it
comes. l live under smell i will follow smell or smell will follow me smell know you. Do you know you
living in the world or smell is a good thing for future to come. Do you think l found all the things about is
the smart things never seen in my life in your mind you cannot erase or wipe clean. |f you see two things

this book you take one out holds on how you can do that. When you did not write the book, why we are

 

just visitors in here. l cannot have the same living name and the same in the ground can you name this

book it already has a name.

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With you’re a thought can come to you is the dream of sleep as big as the dream of mind | will
tell you something. | left on Sunday and stayed for three days and came back on Sunday. How
can you do that just a thought what does you mean about hear smart hear you say will always
be here who is smart. l think death is smart death make living people work for it and will not
pay them no money no thank you. l\lo anything for there working to help death and l cannot
stop working for this thing death is too smart for me. Can you stop when | did some will come
get and clean me up do l am working for him just always try to work for life know one never
told were death start from in the ground it must have a way to hitch hike or travel | did not

know death can move but l see move it move and go get somebody the begin word came in the

world you will never Learn it so smart. Can you learn a new way to eat smell your food you has
to have some good hoses to get full off smell 1 add 1 and 1 and 0 so | will use 1 for god and 0
for 0 win. | had said thank to the number ten before l win will hold you were ever you go they
never loose time. You can never stop stops that is the only way death will stop time is death
and time never change to stop and go back look for things that it list you came in the hearth
through 1 are the other 0 how made 0 win hold that thing . l\/|y panties is a flag pole because it
flags down a lady and ask them for a ride the 1 went with the 0 and you put you and them
together they know what they did to be together. l will never try to see why they are asking
why you come not me so when they came together that became 10 no one do it any better

than that they have ten that u pit on house. But it is not like what | am talking about when they

 

came they made something together win air and all kind of things. l will never go off number
11 one is life and one is death came to us the world told you a story and you are living in move
that came and brought us the story on the sight the story was not a lie. You are living the
moving story he gave to me and the one that knows this is the way that l see the things in my
mind. lam not talking about God's people. l am talking about people. Only the book will help
the people that contributed to helping this book come to the book stand along with Tina l-iarris.
We thank all they done to the word of world. You know knowledge in your mind. Words being
using is becoming forward. l\/|ove here word start thinking words. Company people are leaving
here and not tell me where they are going you are made out or words. | came to stop this is not

the end it is just has to stop somewhere words is me the world holds me also in words man or

woman in here but holds you out the world win into the right place we see that you are

enjoying this reading new win mean new earth world win o win mean worid in 1.

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The kid gone to my mother. God how did it go there in that part of the dream WGG.Com that

said woman God God.com. The true are the word true people all ways when true is being told

and you can see the true. You can hear the true and you can know the true. But you will cail
true something else. You say he are racist. 50 what are the true meaning are true. l see the
true being heard every day. Come people does not hear very good. | never told the true to
turn around and go back where you came from. You will say anything to arguing a point that
has the true in it. You always turn around the other way. You hold the true for a little while but
not one hold on to the true all the time. Only the world hold on to the true all the time. The
true i cannot tell. A|l the true because it was heard before me a lot are people are looking for
the true but you have a lot are not looking for the true. They are looking for anything they will

run into. The true and try to push it out the worid. lf the true leave you will never be able to

live in this worid. There a way to do anything the true. The true is ali you have. The meaning of
all of these. Someone looking in on the worid. When it shake, i feel it. When it move, who on
the other side the worid. A|| can i claim that word all for myse|f. Wow you would be left out if l
had it al|. But l Will leave it all back here for you a||. So l will never have it. A|l true freedom are
looking for a way out of me but you have to hold it in you. lt is the true come out of you are
me. l wili be ready to kick ass or a beat down or a tow up you. So watch it don’t let the true
out. You try to keep living true. Something keep holding the true on earth. You can hide the
true or kill the true. if you kill the true, it will come back again and again. A|| the time because
it has it's (on own) true se|f. You do not want to hear what the true tell you. | told the true.
What did you say. You told true what to do. The true do not have to listen to you. You have to

listen to the true so you are trying to tell the true. What you did in your life or did not do in

................................ 6.3_8@.....5.._'_1_8_€\/_9997 3 _..D6B_ MT§ DOCU m ent...._l F||ed 97./95/..18 _...§..a.ge 6 5.....Q.f......1 21.._

your iife. Okay, | see were some are this was going. l am telling as much as l can and | do not
know it but | am trying to |earn. lt all | can keep telling about thing ways what live on the ear
the longest time. Some of you want to be smart and you will say time is the longest and the
worid. |arn not talking about time. l am talking about food, water. What live the longest. A
fish or man or woman or a cow or hog. A dog or frog. Or what is the oldest thing that |iving.

Do you know? You get what l said.

Look the way i said go on the back of the book. Why we go back? Do|lar or call me saying come
on and spend some time with me. No | am not ready as of yet. Hey here are my voice book
one and voice book two. Keep your safe ass. We are trying to keep your date for only to
people you and the Our words governor US. | told you all this in 2006 on appreciation. Now
|’m te|iing you again in my voice with my words. |\/laybe you did not know my voice are telling
you | put thing on page. For you to read, | claim the book that will have a voice that will talk to
you and me and the other voice book | will spell close backward because this book will not let
me esolc our words governor us@voicebook.corn. First word | made my shadow talk are move.

| am goning with you.

 

......................................................................... l 6.3_8.6 5 : 18_6\/_9 997.3 _ 96 B_ |\/|...T.§ DO 69 mentl § i |........ed97./9 5./1.8 _.§ 36 e..._ 55 Of 1...2 1 _.

One man means two things or woman as l said top means one word ata time but the words has
two meanings. To,o and pat meaning one up and one word is down. 50 do you see itfor yourself.
ldon't know what you are always talking about The put turned the earth and the top just go for
a ride in moving. What did you say can moving stop does not in moving. What did you say in
moving stop does not move. How did you go there to where one man means a lot are things
who told you that a man has a lot of things in him. You cannot see so good then yes l can see
too. Well you see things that you cannot see. What are you talking about then lsee one thing in
a man or woman. Do l have to talk you should already know that one thing that's in them. it's
not in them l_ am talking about one thing that makes them move. ll/ioving is, all that in a man
and Wornan ltold you that Well you find something else different maybe lused the wrong Word
moving came to me and you from other things that moves. Why did you talk like this lam the
only one looking for the meaning of words and things that makes me work in the place of
moving one word at a time. What are you trying to say l am just saying everything because this
world is only wordsl i like to own all the words man do not own all the words just my thought

that l can. Who want me to have it?

t`verybodyteach heaventilere on waybur the-hue way are not here to tell u how to get back in where
you came from people say l came from Adam and Eve where are my d and a from these people l know l
came from air if death every die is this the end or the world i do not know that question and has no
answer is death killing all thing are time killing all thing death cannot kill all thing how do you no know
contact was not made for that to happy only contact hit you and you jump into moving the first move

start it to tell me god will see me the big love stope cannot control moving in the world l claim my book|
am just like you | can injured myseif| cannot fix myself

..~_=.“Wc~._, jt

 

 

............................................................. 66_86 _.5.._'._ 18 _6\/_.5 5..573_D 6... _|\/|T§DO 6 blm 6nt1|: i | 6 du _5 7/55/1 §_.6_6 6_.57_...61:_ _1 2 1 `

One application sheet pool will play one football game at a time. if you want to play the
application sheet pool you will have a new application sheet pool lO0.00 block are squares to
start the lOU.OO blocks or squares second sheet. The first sheet will play millions of sheets and
the other sheets will follow the new third sheets hold its own millions of sheets 100,09 block are
squares . On the next sheets say four sheets it holds it new sheets to be filled out with name and
number all new sheets befilled out with numbers and names. And all the other thatfoliow
millions or sheets will follow will follow the first sheet are filled out with names and numbers
and millions follow the first sheet. The samefor the second sheet is filled out with name and
numbers and millions of second sheets behind the second sheets. lf l have a hundred sheet
100. 00 blocks are squares to be played. One sheet on a game and the other sheet will follow
play another game and another sheet. Play another game play another sheet new game means
new sheet one sheet per game and the other millions sheet will follow the new game and the

other millions sheets will follow the new game sheets all the time just like this .

1 sheet. 2. Sheet 3. $heets 4. $heets and so on.
Sheet, $heet. 5heets. Sheets

Sheet. $heet. Sheets. Sheets

Sheet. Sheet. $heets. Sheets

Sheet $heet. Sheets. $heets

Sheet. Sheet. Sheets. Sheets

Sheet. Sheet. $heets Sheets

__12_

 

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l never did talk about the talking Voice book are telling What it saying. The Voice hook is not
the book that you open and read a few words that it says. When the book is open, my talk
Voice book computer Smart Sme|| and Tell know how to speak to you and ask questions and
give you answers to some problems. We are looking to build more talking machine that
perform a great task. The Face l_ooking Computer holds some of the greatest work in modern
technology. This is happlng today, tomorrow, communication technologies are advancing and l
cannot keep up with writing But do not count me out. Count: me in fundamental forms ideal
that Work. Three Ways. lVle talking to the iphone, the voice are listening to and the iphone. We
are telling it What to do under our command to the data. Order machine to tell are receiving

Words that have meaning are not meaning only at our Words governor.us.com 55 q WQ/

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_TRUE |S NOW

 

 

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Clean teaching do not put hate in none of my'device or phones that send talking to the other
phone because the phone will have more thinking to do and no room for hate in it. l\/ly pair
phone talk. l know you know me trying to keep each other sale and living and re living.
Thinking computer smart smell and telling phone what to do and not to do. They listing better
than human. Waston is build from some of my paper work. | claim some ot Waston. A percent
of it go to me. Another talking Waston got to build thing that same in a pair to the USA in my
paper in 2006 to 2018. Putting to phone to talk and tell on the other phone so they can tell
about smell and riving care about talking to you at all time you say something to the phone.
Yes drive sae phone you are driving that care phone. Yes | am a phone. Are a robot that talk
technology. Were did hate teach technology. | hope understand what Robert L l\/|artin are
telling you. | claim one phone that talk and now | claim another phone that talk to the other
phone the same to phone. l put on a gun in 2006 both are understand that talk the other

through a problem. Are bring correction the phone talk il it make mistake. Correction both

 

talking to the other phone to phone talk two to phone. Do not build one With the true in it and
the other phone With a lie in it. They will not work. Like the build the two phone to tell each
other the true. Cal| and talk to the talking phone. l call you and you call me to phone. Ca|l the
other talking phone. Transier talk to talking phone said hey phone the other said hi back to the

other phone.

 

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2005 - 2018

Hate. l like to talk about hate. 50me hate what you do. So hate what you say. Hate where you
came from. One that know hate. What is hate. None violent. Nonviolent must mean hate.
What did you say about me and What did you say about you. You must have everything and
yourse|l. You have yourjob. You hate hate. |s something that know you but you can not see
hate. You can not feel hate. You can not eat hate. Can hate be ki||? l do not know the answer
to a hater. Let his mind find hate and he will miss the right hate. So were are the wrong hate.
What the right hate and the wrong hate. | thought it was only one hate. Do you have the right
to hate. Who gave you that right. To me hate know right from Wrong. lam not writing this for
noone in particular. lust ask you hate because you can not think With your own mind_ You do
not own anything Hear that hate belong to someone on the other side ot the World. But you
want it for yourself. l Would give it a way. l do not need it. Why are you trying to hold onto
hate. No not me. l am to clean hate. Hate need to clean up his act. Were are hate dead and
you and hate can not lind each other. The world will not let hate it form turning in love and
understanding you has to find clean mind and you can see hate running from hate. l-late do not

know hate. What is people are not scared are God and not scared are hate.

 

 

..................................................................... 6686518_6V_55573_DCB_|\/|_T§ 66Um6[]t1__§i16d 57/55/1 §3_66716f _1_21 ____` . .

Who wrote this book. You did. lt Who are you. |’m the way you Wrote the book. This book has
all kind of thing in here. Were are here. What are you talking about. Here | came a baby boy
and a kid. They say it was boy before l was a boy _ kid are a kid boy. We are listing to the
people that call you a boy are a kid. You did not tell me what l has ask. You ask for a lot of
thing. |\/|ake your self clear. The boy kid man wrote the book. Your brain must not be working
right. The thing you are saying. |Vly mind telling my brain the wrong thing_ l\lo your brain
telling you’re the Wrong thing. | only has to which one left me. What are one that left you. You
do not understand this. So do not mislead youself. You came for a reason. | do not know your
reason. But | can tell you here had a reason to tell me why you came here but your mouth did
not work with your brain. You did not bring it out your mouth to tell what you know about
yourself. 50 | do not want you to tell me now because l am talking and no one was |istening. l
How can l hear that pen writing. When you are reading, the pen hear reading l\/lan you are full

of bull. That pen wrote for the world to come hear. lt could have a pencil.

 

 

73 -oCa--ivl-TP--- ---D@c-umem ----- 1 --------- i;-i-lea------o-r/os/-1e ----------- Page----za---@i 121

Bull do not know what this writing are saying Do you well tell me what this book said. l said
writing said Oh you are angry with the book. No l am trying to get something out the book.

You can get anything out the book. You can read the writing in the book and the came
together. Can you write like this. Like what. Like this. Telling something about together boy
kid man. \l\lhat about to me a lot about the kid and boy left the man. Here are the man left the
kid boy and ran the kid back to where it came lrom. You just grew up to become a man. ls the
kid in or out me. What did you say. Nothing because you did not know about the kid boy left
and went back to God wife. She hold all kids with her and when you die or l die she will see all
the thing you did in the man. When you go back to the kid from the man do not brain. No lot
are sent back to here because she will throw you in the fire and you will never go see God. So

your brain left and went back to wake for your mind to come back clean.

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As the world grow older it's take your mind.

Don't get scared now and try to kill me because the world know you and you did not hide
anything from the world. | thank when you kill people you kill yourself from learning the way
the world show you. The less l kill people, the more knowledge l will tell you. This is lesson on
my people and your mind. Can not find nonsense to make sense as word come here to tell the
sense that come to the mind that's been sent here every day from the world that know me.
l_ook you could never have wrote a book like why you never wrote this one. l can tell why the
see you was not clean enough to hold this in your mind. 50 your sense can't you think all this
came through a sense to think the right that you see. What leave you and come through you.
l\/iaybe you are not for real. You maybe trying to use that take sense not the one that tell the
mind | smell this and it stink. l\/laybe you cannot see the world the way the world see the world

in me.

 

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This writing had to come to are from the people that live the closet to righteous. The world will
tell you what to say and do but do not listen to me. Listening to the way you live in your world
but the world live in all of us and do not forget that. lf you forget, they you will never learn how
to make the world work with you. The world with all kind of thing but people don’t forget how
it work for them. l will not tell you how it work for them. That is not my job to find out all the
ways. lt Come and go this all been told through someone else. ldon't know everthing, but oh
boy a lot come to the writing on the paper and so true. lt did come around and | was listening
to it. So l can tell it in a remembering Do not just remember my sins. Remember your sins as
well. l remember these thing. l think so. l know so. This is so smart. Came from smart world.

Who will never be remembered

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Hey what did words say hey know the word did not say nothing, no you are so wrong the word
always say word can find me everywhere, who writing this word the world and earth found all
things that your God put here word mean all word in words every word come through words are
coming from word only word know the meaning when you came here who are you talking
about? Come here word come here along with other as the word turn back to the words you will
notfind word in no other place. lfyou let words know where are where youfound them at, l
found word at www. Word word. Word. lawn words why you keep my word and you can not
have them. llet you use them use them words one thing that llcall oh you call the word. Whatl
did not tell you l call what my callis anything know your call can not be anything how you tell
me what l can do. Who are you to tell me what me what to do or can not do. Gofind yourself
because l own me. ill/ho said that you own me you all does not have it all right . l will get it right
how, l will get it right how you know so much. Who are you talking to we don’t understand what
this talking about, this talking is living l thought you was talking about words are living with me.

,,r}_l_Le

have me you are in the air.

l am the smartest man in the world. Why did you say hey to the word so word talked back to
you. Yes what did you picked out your mouth words. i thought you talked words l can say
anything you has to talk for me words you speak for yourself No l just sit and Wait until you use
me in your writing or talking words you does not has to wait on me go to someone that can help
you move around the world. Where ever you are going words how are you dying and you run
the whole world and you said you cannotsay anything. How did you stop and l had to pick up
and use words in things and places lt need to hein words tell all the story on the world it shakes
all kinds if things without words. What would it be like you don't know nothing. That is like lam
dumb who is dumb no word man you have words to make you think make you have knowledge
words does not. Can youfind the meaning of you wait. is a word it’s not me who word it CUS.
Has it's own word l thought you have all the words l do not know how to explain all these words
stop putting pressure on me to explain all these words. ll/ly hands and words think alike in your

mind.

 

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ifmy machine know what makes me age it can have a way to stop aging. l would say but l like
to tell what we all do tell somebody something. lhave a tell and smell and talking about saying
people on earth forsome more thing to do on this place. ll/ly words knowledge machines
computers smart smell and tell will tell you about how to talk on copy right paper. Robert
il/lartin claim all computers talking phones speaking and talking device. l was the first one to tell
the world that l hadfound a new idea in the line or mind that think like me. This is so close to a
man and a lady that tell you things that you need to know. Now l see that so many companies
done built some talking machines. Do l have to tell you more about other companies getting
paid for their work and they have me on hold. But will be acknowledged for bringing the age
upwards from a machine that knows me and you, When it learn all of your saul so it is average
in quality pronunciation translations and examples learn more of my languages speaking words
English phone computer that tells your phone to keep my message until you ask for the
information maybe as l tell you that this phone is my machine . We know how much heat it
takes to keep my body long and hot my machine knowing it has to tell the message we are
looking forjustice from the world of talking and speaking and moving. information thought you
understood talking English language machines that has a mind to tell you something it know we
are talking to a laws with patent lawyer USA about money or a patent to the idea that came
first to the USA in American and the worid. lt knows you if you talk to him coming from list to
find you did not know but l did. lfound this to be in working and thinking lnever was lost lfound
another me that just like me on one side. Oh yes l would like to talk or elaborate on my bicycle
that l rides and built afour wheel bicycle with a motor on my bike and then icame to the town if
Liberty, ll/is. l can ride my bicycle two ways motor or pedal it. l was violated by the law of the
town of Liberty and was band out of l.lberty on a bicycle. The judge told the police to take my
bicycle if they see me on the bicycle in l_iberty, lVls black people are tired of the judges and his
police breaking the law for some and others put on the back and l don’t trust this USA system
we need a camera on all people in the law business then we all will know the law and what it

stands for.

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lfyou did not build it or have it in your mind. it is not your mind. lt is not your take is that the
only way you know how to take to build your rich off other people knowledge get your own and
give mines back. What you think you did this book has facts. tooking at itself so clean that it can
not see itself through his or her eyes. it only sees itself through the world l miss the dead l own

my own number ofpool to be played on paper sportfootball. THE BlGGEST WORD lS LEADERlll

1211

 

 

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There you go again what are you saying about l am going again so you must be mad or you
dumbfounded it because l can not help that you know and l don't know the way you talk and it
done everything that l say. l arn doing everything you say if l do that you will be over control you
think you no everything. Who told you all this you did sound like something in the word. Yes
there is something in the world may be you need to stop talking so much you don't tell me what
to do. You don't have my mouth no l don't have your mouth but l gave it to you and l can take it
away. That’s your way here my way my mouth are running all the time and it know what to say
well you need to catch it and stop itfrom running. How can you catch it don't worry about it
then my mouth is not known then my mouth is now you was then. Why you sending your
frustration because you think too much about untrue what have lsald was untrue things that
does not have no meaning and you don’t really know about you just let your mind play your
brain into things that are over your head. l’rn not trying to bring anything to life or kill anything l
am just speaking about the things that you don’t know about l know about everything see your
head are too big for your thinking. What you say about this true or is ita lie where did you find
that from you have everything you say you know everything You say everything when are you
going to end that book you have been saying that this book has to come to an end. Seem to me
you do not have an end yes, lam set on my end now you are a big city was close this book. ill/ho
doing the talking me or you l am telling you don’t tell me what to do. l am finding you out l am
not a true or lie l am just the truth. Well how are their own lies you ask them don’t ask me so
both of us has something on each other you hold the lie and l hold the truth. How can you say
you hold true things really work with the true. l cannot tell you how it works with a lie. Did you
find what you was looking for in this worid. What was you looking for when you came here or

come to.

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What was the reasons came to see that this is in the right way. The reasons has o believing are
accepted or the sure truth superintendent of an idea that was given to the reliability with proof
that's on paper that’s something is right that l sald. l'm putting words of the day these things
happensfor team in the state or my eyes and mind maybe you can say this is the case with
factual and certainty or hold as an opinion. ls this book an opinion ? l have some physical words
in here and some empathy all humans think of actually about our current. This book does not
follow humans your supernatural beliefs it's follow the starting if knowing what are here and
what comes to here. ll/le myself l believing God words the world comprehension the trust in
what it dies for people andfo`r ltself. Am l trying to make believe out the world NO the world
what it knows and you cannot take itfor what it shows and tell it is not. lt is not invisible things
that you cannot see but you know. $omethings make it works so you can see the rain falling but
you do not know. What makes it falls or how it works to come here. Some parts are visible and
some parts are not you did not see me right this book but here you are reading the invisible me.
lam behind the writing of this who think like me the way the work to me look like animation
with something at the control start controlling the worid. Why you use start well what will you
use then. You don’t know what you are talking about you don't know what controls the world
the world dies not have control. You don’t tell me that it has something that keep it going see
you said keep it going it going on its on. l’m not arguing with you about things that we do not

have any control over.

 

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You said you would not look for that what will keep you from being missing Well l always think
about things that work in the world of man and woman. But l like to talk about words and
numbers the leader is one. The follow is number two and on and on l always have a problem
with words and numbers What problems does you have with numbers The number two, what
are you saying about the number to. You and l have to look at that number very, good l do not
know what you see from numbers to but l see a lot of things that came tofrom that number to
one started two. Wait hold up you said who came to so you are saying someone came from to
or came to life and came to. What are you looking for the world will never tell you all it knows
because you will be smarter than the worid. This is the smartest world l ever knew and ldon’t
know it ail. Did you add all it together to get what you need. What came to your mind? l.ife
came from death or life came from life. The world tells me what l know l thought you told me
what l know as a person but you did not tell me all of this l came to. What inspired you to write
a book? The world want you to know and learn things that or has to give to the one that are
looking to see in the mind of things that makes the world will not have to work so hard so you
are the world helper. The kind of knowledge only exist in 2000 A.C. will you be inspired ?
l_earning how the world ask you will never learn how the world ask tell that to someone else this
thinking are different or reading What happens to the one that didn’t come to the world came

to the beginning of his time_

_24_

 

16686 513_6V_99973_DCB_ 1\/|1`|'1:? ......... D66U6'.}6...6111 11:11661 ...... 97_/95/13_1 P6663161121

A book that came to know what it's say. Looking to come and tell you what it is looking for
things that we may not know. This book is looking for what happened. How did you miss this?
l\/liss what? The book that tells you many things about how things are somethings work or can
you fix it to make it work. This book need glasses to see itself work. l thought the book can not
see itself with his;; and now you say it need to see itself works ls this book with a mind are a
head or mouth or eyes to see_ Where are you going with this book. The way you are telling this
book to do things iam not going no where with this book. This book is coming with me where l
and l’rn going. lam trying tofindsome of the things that know how to find me and l cannotfind
it. This book did not tell you how to find nothing but it read things that you can know what are
you trying to know my eyes Can you see the moon that is along way from earth. You have
some powerful eyes to see that far howfar do you think the moon is from the earth where l live.
ll/lillions of miles andl can see in the moon oh there is where the miss is in the moon. This is one
man way of thinking death is our leader it commands in his organization that is what l see in
my life that l live in here. lt look real to me maybe there are not a word that will help the miss
onefrom earth. l willnot look but you can lfyou like to be a leader. The leader is the one on

earth and you can see for yourself The leader living organization is real and we all can see what

catch one give to the other. This book does not knowing built if you read this book you will

know.

-25- ` 1

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You told me to close my book it won’t shut up. it seems like hot has it on mouth mind and do not
know when the right command or code to stop or shut up. Who are you talking to yourself how
can you talk to yourself When there are the refrigerator to the house, the car, and the moon the
sin and all the things around you are the that making the sound are they talking to that
stranger. You are talking like that’s who are talking like that what are they trying to tell me
about shut up. The word stranger come from everywhere from the unknown outside looking in a
difficult to understand if l explain itself am l relating to the things another origin not before a
known sound are you your own boss. Do you really know who you are talking to out of sight well
what about in sight on true out can be the true because the things we seen and do. The one
true came to meet the world l came to meet the world you came to meet the word_ How many
are you that’s ls three you just said the world needs itself. icame to meet the world for what
ayes l said that where did you come and meet the world at. You ask a dumb question give a
dumb answer l don’t have dumb anywhere lsay is meeting on earth how can you say that and
the world is the earth how can you separate them. ill/ho are you talking about them words are
separated two words mean the same thing no to words me and two words Well will you bring
me back to where l met you at where we are meeting the next time. l'm trying to get a ride to
the meeting place where lcomefrom. When l come and meet the world my eyes open and l
seen a lot of things with my eyes can you see what do you know that never came to the worid. l

said i\lEl/ER came to the worid.

_ 251

999 7 3_ .6 B_ 1\/|`1'. PD66L16'}6611 . . . .11:.1166 9 7_/95/13 __ FZ6Q6 132161 ..... 12 1 ......................................................

............................................................................................. 668 6_ _5 11..3_61\/_9 997 3_6B_1\/|T P D6CU 166611 12116697/95/13 11:).._.666_3 3101 _12 11 ___ l . .

 

The world except everything it's never turned around or turned down anything always come to
the world and does not say no you cannot come in my worid. That l know about all things come
here. What do you want are calling me to come somewhere i can not tell people. What l know
they need to tell me what they know people have different ways they think of things in here. i
pinched myself and i felt real to myself this is really happening that your mind put it on paper
came from the word. You has to keep going under until you reach that point of no return you
can keep my book just return the knowledge salt will learn that. it is so much being talked

about and we are in some of the things that no one'on earth really know about because there

are so much knowledge that was discovered in the way we used words Really no where going
over here and some other say they are going over there l know the world will suck you up into
the appearance of the looking in disappeared off the face the earth. Where did you go l went to
that place God company i thank God for waking me up and putting me to sleep and waking me
up and again. Some people make sure they talk to Godfrom talking lsay what do you say to
enter your knowledge has to tell when you get there do not stutter because you prayed to your
body to be clean in the heavenly place the world came to see you go there. What do you prayl
prayed to live everyday on earth and in the worid. lam following my life or live the first time

came to the worid. i would have to come back to the world or the earth lgot put out.

 

_27_

.............................................................................. 6686 _1511_3_6V_9 99 7_3_1.6 B _ |\/| T._F) 11D0 6 U m 6 nt111. .1|; "16.1.697/95./ 1131F)_66_6 346f121

 

l think that l said when you read this book you will know you are saying that is not the truth.
How can a book that you are reading it because you open the book to read. So your knowledge
open the book your knowledge reading the book. This book knows you because the book on all
the face looking word company. The book wards talks about you, no the words does not taik.
Well what do the words talk mean then. Don't to there with that what you are saying just keep
reading and have fun with your learning and mind. Do not come to me with nothing because 1
this book will never shut up because it been open and can tell all the words you be one that
knows every word from talking. l said let it go on and on in his knowledge and you will know
the way the way meaning are everything in its on turn. it's turn the knowledge back to you lsee
you learned how l work. The words are you this book will go on until you stop putting the way it
is here a man told me l want to be God. What do you say to that butl will say this andl will be
guessing and that is not good or right to guess but it came in my writing. That sunshine kill you
and me it takes something from your body such as sweat from your body. lt takes whatever it

won’t from your body ifl say.

1231

 

.......... . 66865 : 1..3_6\/_9997 3 _ D 6 B_ MTP66um6 nt11 . . |: i led 97/95/1|:)66 613 5 6.f 1 2 1 '

Everything have a reason to come and go through the time that came to me never been sleep.
i-low can that be it never came to time never been sleep how can that be. lt never came to it was
already working here maybe where did. lt came to that is this the thing that makes mistakes.
These words are not true what words are not true time came to. Ail of them came from
something the way they think. This book cannot catch anything but when you catch death this
book will hold it whip out your hand. One page came to this book did you come out that dream
what technology you are looking for from l came too. Did you wake up is this the right
technology for the world came too. What technology do you find start catch death who started
catch death there are no win to catch that and hold. $o it cannot get away again start came
here start came too what did you mean about start come to start was not sleep_ That l know
about you don’t know about that about bringing something to someone my brain brought this
to see. if you can do anything with the way these things go and comes in time it starting time to
move you was not born to know these true had started up and never to be turned with your
hand on or off. The only power of the world start moving these ways are ways start time by
doing there ways or your ways. Everything has there on way are putting words the way they go

the reasons. START FOLLOWlNG.

 

1291

 

 

.................................... 6 6861 511 1 3 _C.V_ 9 9973_6_MT F) 1 D0.6 U.me.mt 1 1 . F i1_6 d 97 / 9 5./11311 P 66 6 3 6 10.f_ _111211 1 1 1 1 . 1 . .

ldo not want my picture on my money ljust want in God we trust money in my pocket. You are not a
poor pay just come to all visible are invisible thank to all so left no one out. l like to bank this one in
the side pocket hey look like someone always digging my pocket to pay some bills all the time. The
time l’m here it's time for me to dig in somebody’s bank are i can get in your pocket i am not that big
only 210 poundsjust put it in my hands. l willput it in my pocket put what in your pocket your money
will go in my pocket no it want it’s too big well the bank will hold it for me. You are in living words in
here the word live word breathing the word world it sees the word to tell them what to do. You
cannot say you don’t know what l am talking about you need the word you cannot get around with
thought the word that we put in the book on your earth. l wrote that word that is the reason white
and biack. l look at the moon and see black and white in that moon and black and white an earth the
moon halfis the moon be hold and then it goes and come. ln a half moon is this a way the world

 

people look different from other people. What do you see you see the moon another way i can see it
just like it is the black was round in the moon and left and comes back. When the moon is full why it
left no answer from me. Where did it go you tell me then the wife shines came as a half of moon so
where did the miss go to the moon. l.ook over the world and over you also know that is why it comes
to see your day and night lookfor yourself. That is the way God made it up. The moon worksfor you
very hardfor you to try to keep it rightfor all the good of God and me the moon has to keep the
sunshine from burning you up. The moon is on your side because when l eat l can not eat anything
that has been left in the sunshine too long. lt will kill me or make me sick germs come up on you. if
eaten that food will be bad for me and you. But the moon keep your food and you and me cool. it
keeps your food and meat in cold or cook just say it help keep it stay cool. People asked what religion
are you l said l am a child of God that have me the words to tell this. lsaid a book that nobody want
to read. Why did you say nobody do not get lt twisted all up. When l am dead and someone find his
body how can a dead body going to say. lfound his body how can a dead body read it can not ok
which one holds the most part of your body the sunshine or the moon. l was pretty built notjust me
and you the face or a man and a lady is built to look and see me and you togetherfor what to do right
yes but we did wrong who said we did wrong to come here l came to see that pretty lady are you a
woman to help me to figure it out. ls that the reason you came out here she came to see me no you
came to see what was going on down her yet and then l came back and got you are you coming on
your on l can not tell lt just right but just close to right as l can be figured. l figured you are fine to me
U you are getting fresh with me. Well how did it start then l am trying to rainbow you was unwrap
from the peace that is miss. i think something was missing God made it all together. ldo not see it ali
but it's out here for you to see what are you saying you need for yourself you know better than me. l
am just using the pen to write my life l did not write your life write your own do not look for me to do
your work for you. l don't know did l do a good job on my thanks to Willie Neal l\/lartin for taking a
chance with a man to bring me in here on earth.

1301

 

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What are you going to do with your knowledge huh bro let me put your knowledge in my book of your
knowledge say we may come up with somethings when your knowledge and my knowledge knows
one from the other become the book of knowledge from things that knows me. lrise like the sun and
go down like the man l am thinking like the sun and my body i don’t know but l think a lady to me
looks like the moon in its on way, Why did you say that because the moon you see me or what do you
see in that moon shadow. When you look into that moon you see a dijj”erent picture in the moon all
the time. The moon make a things that l can see are amazing like that lady look like the moon are cut
in half. One people say the moon are wasting. lsay the moon is shining to show you what it has in it
the moon has all kinds of break in the command rules or the world your mind help this book. lt's one
thing beginning on that makes a change everyday that is not on your book you put it in this book l
need you to put all people know lease on people baoks. People that are smart you are all are in my
book the Face Looking i\/iy Company come with me and give it your bestfrorn all the great mind or the

world is therefor me. This book was unknown untitled l came to tell it.

1311

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Where did the world came from were are the world going llike to know everything l thank many book
left out. l did not know so this book trying-to find all the things that you want to know about the
working of all things everything has to eat to stay here. l think everything on earth is living in it way
what is the world doing growing or just spending Can you ask the world anything do the world tell
you what to do how old will the world get. Can you tell this book anything can you say this book is
wrong well my it knows how to get it right. lfl had a chance to tell this book something what would it
be that you well tell catch that death before live catch death. lt seems like a race in the time we live in
one trying to catch the other in the in the wrong. What are the meaning of come to was the right you
was sleeping and come to or they call that waiting up who said the world came from somewhere
When lleave there will never be another thinking like him. l came here to pass by here ever where l
went l passed by the store l passed by your house. l can not say l arn passing through here because l
will be going out the world and how can you do that everything is still on earth. What left out of earth
or world l see another left the worid. You may have hid somethings and can notfind lt no more. ifl
find your smell can l cologne your smell. You smell your self meaning more than a bath the way l l
think is this bookfrom earth is from some where that the unknown. This is not a movie thing that’s
happy you did notsee come to you. Where do thinking comefrom they say the mind well body should

already wrote this book ifall thinking comes from the mind.

1321

 

............................................................ 6 6861 5 : 1 3 _6\/_ 9997 3_6 |\/|1`|' § _.......O.CU.m 6 mt . 11 ..§i| 66 9 7 /95 / 13 11 1§ 66 613 9101:.11..21 1 . 1 1 1

l was talking to a lady paying some bills and a man was talking to me when l told the lady paying
some bill and a man was talking to me when l told the lady and the ladies that was waiting on me. l
had paid my bill and the man saying make by something lsaid i will buy your knowledge and you can
show me how to make all my money back. He say ishow you how to double. Your money back l say
how he say it back. l went on by my way the black can cover the moon as the black cloud come pass
by the moon you can not see the clear moon at that particular time when a write cloud go across the
moon you can see through the white cloud be able to see the moon shine then the sun know the moon
and l think the moon know the way to stay awayfrom the sun and the sun and the sun know how to
stay awayfrom the moon they know man and lady you do not know the sun and moon like they know
you this is things that know you do all the time and do it neverforget know the world neverforget
about tomorrow is coming it not like me and you l willforget things l need to do or use in that day or
night time and at night or day l did notforget to put this book and at night are day l did notforget to
put this book in your mind to you do not have this book will here. l am passing it to you take it and
find some of the things are movingfrom on to here l came in the world with mother butl won’t to
have something to live for why l am living on earth icame here poor but l like to have some money
why living on earth where are my money it must be hiding from me tell me where the hiding place at
and l will go and get it before you get it back again did a_ man have to die to be on his money l never

seen a live man on money

1331

 

Mistake Letter

I, Robert Martin, Would like for Author House to continue putting my pages in my
book, “The F ace Looking Company”. l have submitted these sheets to Author House.
These will go at the back of the book, which are the pages that Was left out. Once the
pages have been added the book Will be complete l have paid $2,500.00.

If there is a charge, please let me know. 1 1
Thank you, ` 1

Robert Martin 1

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Certit`tcate of Registration

"l"h§s Certit`rcalc issued under the seal of the Copyrighl.
GFHC¢: irl accordance with tith 117, initle Sl'ntes Cade,
attests that registration has been marie fiat the work
identified below.~’l`he information on this certificate has

been made a part of the Copyright Ol`tlce records R€gi$tmti[m N'"mhcr

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Acting U:xlted States Register of (.j opy rights and Dircctor

 

Title

 

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CompietioniP`ublication

 

Your of Complelion: 2015 6

 

 

Author
¢ Aul}mr: Robert Lec trial l§\.
muller Cr@atcd: some text, some ille.lslrations
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Y`ear B<arn: 1958
Copyright Ctaiment

(_`lopyright Claimant: Rol)ert l._ce Marlin
3995 McClaim R.<_)ad, l..it)crly, MS, 3%45
Tr:ia\sfcr statement The- aut§\or name is Rohe:‘t Lcc l\ilult'm

Limitation of copyright claim

 

ivIaieriui excluded i`rmn this claims h book that talk sham abc world and the people in the earth and smell and tell
phone that talk and think and walk round the world the hook that control deis
book
I’chioasfy :‘eg¥s|ercd: Yes
Prevlous registration and year: \i'A E ~'i 115 12 112

New material included in claim: some text some illustrations

Certifi'cation

 

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Registration #: TXu002090097
Service Request #: l-43()9325100

Robert Lee Martin
3995 McClaim Road
Libet‘ty, MS 39645

 

 

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l Z/A¢mk .For' d/h€. Ih+er¢/.¢i`etu S`Um WI<l/'"Y ‘ '/_@
» cmM/”
11~:1'. F"@»tw~h s am MLL mem bowl MM WOM H'/` fmi
'ith. Cowt wm mueller am 1519 ‘H\"S`CO$"- 1 F‘“°@&)NV

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’&,11 wet my SM:@/ fich nw /u'¢gmmw am tow

 

 

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Voice Books Mirror C|'u' \°

From the beginning Voice Book smart smell and tell and talking machines service computer has a

device. The first reply date of interview Was the 31 of May 2018.

To Whom lt May Concern inner and outer body
From: Robert L. Martin

This is not a mistake, this is an invention that was wrote and built. I, Robcrt Martin put on
paper the art unit 2665, December 30, 2015 delivery mode. ln the copyright office we sent the Voice
Book in to the copyright to put all my work together. The computer smart smell and tell was the first
born air smell and we told you on paper we have a computer that talk and tell you word and listing to
what you tell it. They say my idea has to have a title to it. So, what must I call or name my invention
Call me everything which one you want to talk about. I let my smell and tell go into abandoned,
because the computer smart was left out. When the certification of micro entity status gross income
basis. It is say title of invention. We are here to resolve the application and move forward with the
Patent application No. 14/475.553 filing date 09/02/2014. First named inventor, The Idea Design
Studio made the shaped frame arch, l did not say no to the arch. But, I put in my copyright paper work n
on a phone are an lPhone that has sniffing sensor camera touch hand print smell and tell unit. Talking
Idea Design Studio could have made the phone that do all the thing that l am telling you on paper, so I
try to get some help to build the talking phone are whatever you build the talking and smelling device.
IBM build the talking device with my understanding that it will work.

So, if a device identity and discovered recognition What if it told you What it found and when it
found an odor. To keep me in the right and, if the liar can be caught by his smell or DNA. Lock and
unlock the truth about people You can say this is a smart decision So, let’s talk about the word smart,
I wrote about smart devices. My Word smart are been use all over the World and l need to get it back in
copyright work or you need to pay me for that word smartphone. You know what we are talking about.
So, my computer smart smell and tell are telling you that this is two inventions wrote in one. 'The
telling device or talking Now can you take talk from smell and tell are talking about a patent number
to smart talking device and smell and tell device These are the inventions we are writing and telling

the Ofiice Action summary to let get it the way it came to the company The Face Looking Company

 

 

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is a book that talks about IBM and Watson, they build the talking device and when they built the smell
and tell but give me some are my part in this claim(s) 1-13. This is the first time patent rule, and is law
had to rule on a telling device or a voice machine that process things as a man smell technology. My
computers physical senses the doctor may hold in his hand a smell cognitive systems l think like a
computer, l hear like a computer, l touch like a computer. A computer that listen like IBM wasn’t built
from my copyright paper work. You can ask the phone a question and it will give you an answer. As
you say smell and teli, it can give you some answer. Also, smell your breath and diagnose your
sickness. Smell your DNA and know your name and your face l cannot get all the credit for the
talking phone, but l want my part of the patent. When l told IBM to build Watson they did the right
thing for the World and me. So, l Will name my invention a new name. This Idea is just like a man
head, it’s so many names to pick from. Voice Book smell and tell will the claim(s) l-_l_§ are subject to
restriction and/or election requirement If any claims have been determined allowable You may be
eligible to benefit from the patent prosecution Highway Pro gram at a participating intellectual property
office for the corresponding application For more information please send to Examiner Aaron W.
M. If the arch are built just like the Watson talking device the arch will be patentable, Robert
Martin, LLC copyright 00319775481. The lawyer and ID’s put on paper, this idea hold the first talking
and smelling application in the worid. Thing that talk, thing that smell is called a device that came to
know me and you and that means this is a double invention that l Wrote. Yes, we can separate the
talking device from the, as you say, smell and tell to the device We call a patent lawyer to file all the
timely, in order to stay in the traversed he taken the money and lie to me, so what is a man to do when
you have trust in a say they are a lawyer and nothing get done on this application We are trying to
start over on this important information for us. A patent number do you know how to patent The Voice
Book smell and tell computer smells. For a computer smells, appliances explore, top electronics now
computing and smart digital scent with computer technology machines smart smell from Robert
Martin and lBl\/l lnnovations the science behind an answer. I can taste and touch five future
technology The invention that could be smarter than us. My computers Was on jeopardy and the
humans was destroys my invention change our lives. My phone can know whether you are and can see
sight work off my paper. Other people are added. My technology in there device. They have all the
other using smart to work for them. People are using, skip me and give it to you no bringing some
back to me. I sent the smarts invention that has ever been sent to the United States Business

Technology. Present my application claim to provisional statutory information system. The applicant

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hereby certifies the following - (l) small entity requirement, the applicant qualities as a small entity as
defined in 37CFR1.27 my registration No 56341 LUCA D’OTTONE. My application type non-
provisional subject matter utility. My customer # 41809 Domestic Benefit/National Stage Information:
prior application status, application #61/703371. I never measured or sent any sides of my invention to
anyone or drawings Think to yourself for a few. My invention is based upon a dog, a dog or very
smart dog can hunt for any kind of thing in the wood, deer, rabbits, etc. What I am telling you about
my computer can hunt for all kind of things also. You came in my world of knowledge, acquired by a

person through practical understanding my subj ect.

I never gave a perfect way to build a talking or smell and tell device. l, Robert, deserve any
kind of patent number in the rule or patent number iaw. The beginning computer start to tell you thing
to do patenting under the patent law. l do not know how the patent law work with a case like the right
decision conclusion, resolution settlement My information was used as the action translations and
more definitions You are the decision making you will decide over my making of my idea. You
holding ruling and judgement ln the court of law a duly instituted organ of the government that
administers justice, whether on the basis of legislation Previous court decisions IRobert Martin of
equity to the law, for other that are using New Technology maybe, l, Robert Martin did not use the
right words to tell you backward or forward that the double words have meaningl This is a double
invention, talk and smell. l like What you said on a letter, “that you a layman” to all of these steps of
which it will take to successfully be awarded a patent, yet l have every intention of doing What it will
take to complete the entire process I would humbiy ask that you would grant this patent number on

the merits due wit. Only the patent number are part of it.
I am waiting

l, Robert Martin started the beginning of the talking computer and smell and tell technology

How do l get my money for my technology out of the system or my patent?

The phone and computer are working to tell what the other computer are doing. Talking are tell
or smelling. Smell are tell on talking Smell told talking your breath stink. Talking told smell, l smell
and your odor is smelling bad. Smell are telling on talking, tell on each other. In my copyright, l said

put this computer talking in cars are whatever you want to use it for.

1) Talking Book Beginning

 

. ............. C ase518_C\/_99973_D C B _ |\/| T P _...O GUme nt ...... 1 ...... §..i| e d ...... 9 7 /9 5 /..18 P ag e.......9 8.....@_1:....._1 2 1 ..................................

2) The Beginning Books Talking

3) The book talk back are the computer talk back. T his is my invention that talk, put all
the part that make it talk and move. l contacted Mrs. Sarah B. Mcpartlin and I will be
contacting her on the 19 of July 2018, about the dismissed petition decision Will we
use Watson lBl\/I or build Voice book to assist applicants in making informed decisions
We are talking to the court for the patent number or a payoff percentage of the talking

Watson. Here are the lBl\/l computer smart smell and tell.

Look for yourself on the web. The specific components of nose is a device that identifies

odor and analyzes its chemical makeup and other sensors recognition

From Robert, thinking we did not know that Idea design was not a marketing system
business at that time, we sent the computer - smart smell and tell to them. Engage better
understanding as we learn they was only a design company and there copyright We cannot
be used by Robert Martin unless they are ever what company built the door frame shaped
arch. Will have to put all my technology in that arch and then we can keep it. But as of now
we will not keep this drawing or this idea not to go with my work unless IBM put all my
idea in the door frame shaped arch or any company put all that goes in it. lf all my work
will go in this door shaped frame arch we will keep it. Door shaped frame arch we did not

build it as of yet. Robert Martin copyright number 14/475.553 did not talk about a door

 

shaped frame arch, it talked about building smart thing that has Idea and work so my smart
idea has been built by IBM company We need to find a way to IBl\/l - something that I can
help participate are join in my copyright Writing and there building the word l said in
word on paper. I wrote the smart technology in IBM talking and smell machine to
performing a particular task, you all should be glad that l was the smartest technology
Writing the whole worid. Can you see that artificial intelligence man get what it need at
work a peace of mine ~ my man machine. Digital l disputed some of the ways that l am left
out on my writing idea. My name is Robert Martin, USA need to get it right. My computer

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Inforrnation technology is when a computer is broad encompassing all forms of
technology that involves any forms of electronic data. lt includes technology with people’s

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not dessert me or take me from my invention, add me to my invention l agree when
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IBM or the judge for a percentage of your money and a yearly plan to pay Robert Martin
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We like to get royalty for a book and a patent number or a patent.

 

Robert L. Martin

 

 

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l made a few mistakes l wrote a book and sent a copy to Author House and said that I paid
Author House $25,000.00, but that was a mistake, we paid them $2,500.00 to write a book
for us and l sent that piece of paper to the copyright l am glad I caught that mistake When
you are writing so much, you will make a mistake from time to time l arn sorry, very sorry
l have put IBM in my book because we thought they had taken the patent and did not give
me any of the payoff. I can take it out the book, The Face Looking Company, we are not
here to give anyone any problems If it’s not a problem we will leave it in the book only.
Talking about IBl\/I Watson and their company, l think we need an attorney. This is a big
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App"°° |°"‘ your conveniencel added a brochure explainingthe provisional patent application in great detaii. `
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' Ca|andar including USPTO filing fees ($l lG). At your convenience please fill up the enclosed form and send it
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Title of Work: Computer Smart Smel] and tell

Completion/ Pub|ication
Year pf Completion: 2009

Date of lst Pub]ication: July 30, 2009

 

l AL\thor

 

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Copyright claimant
Copyright Claimant: Robezt L. Martin

 

'P.() Box '1"42, Libel'ty, IVIS, 39645

 

Cett'ification
Name: Robert L.Mar‘a'n
Date: July 30,2009

 

Currespondence: Yes _l

Copyright_ OfEce 1101115: Regarding titlel 111101111:111011; Use'fal_micle per_se_not copyrightable;.
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Qertiéicate of Registration

   
   

  
  

  
 

United States Register of Copyrights and Director

Title

€P. sTATES_ This-Certiiicate issued under the seal of the Copyright
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~P §§ » 1a attests that registration has been made for the Work
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Registration Number

TXu 1-968-821

Ei`i`ect'cve Date of Registration:

May13, 2015

 

Title of Work:

Previous or Alternate Title:

Completioanub|ication

Year of Comp]etion:

Author

The Face Looking Company and The Super System Robert Love Money

Everything is Everything The Way the System Is

 

2009

 

¢ Author:
Authur Created:
Citizen of:

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Robert Lee Martin
text, artwork
United States

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Copyright Claimant:

Limitation of copyright claim

Previously registered:
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Robert Lee Martin

3995 McClain Road, Liberty, MS, 39645

 

No

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Certification
Name: Robert Lee Martin
Date: Aprii 10, 2015
Correspoodence: Yes

Page 1 of 1

 

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Registration #: TXu001968821
Service Request #: 1~2397348925

Robert Lee Martin
3995 McClain Road
Liberty, MS 39645

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United States Copyright Office
Library ofCongress ' 101 Indeperidence Avenue SE ' Washington DC 20559-6000 ' www.copyright.gov

 

Decernber ll , 2015

Robert Lee Martin
3995 McClain Roacl
Liberty, MS 39645

Correspondence ID: l-lCSSOAP
M: The Facc Looking Coinpany and... Robert Love Money

Dear Robert Lee Martin:

We are delaying registration because We have a few questions regarding your application All of the
issues can be resolved over the phone. Please contact me at (202) 7'07-6149 to discuss your application
l arn available Tuesday - Friday, from 9:30a.rn to S:OOp.m., Eastern Standard Time.

Please note that if We do not receive a response to this message Within 20 days, We Will close this case
Without processing your registration or notifying you further, and forward your deposit copies under the
provisions of the current copyright laW. The fee is not refundable If you re~apply for registration after
the case is closed, you must send a new application, copy and fee. The effective date of registration Will
be based on the new submission '

Sincerely,

Robin Watson
Registration Specialist
Literary Division

U.S. Copyright Office

We Would appreciate a prompt response regarding this matter. Please reply Within 60 days.

 

  

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Perlod for Reply

A SHORTENED STATUTORY F’ER|OD FOR REPLY lS SET TO EXP|RE
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Extenslons of time may be available under the provisions of 37 CFR 1.136(3.). |n no event. however. m
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Any reply received by the Of‘l’lce later than three months etter the mailing date oi this communication e\.
earned patent term adjustment See 37 CFR 1.704(b).

Status
1)- Responsive to communication(s) filed on 9/2/14 - 5/1/15.
[:] A declaration(s)/af&davit{s) under 37 CFR 1.130{1)) was/were filed c
2a)l:l This action is FlNAL. Zb)l:l This action is non-tinal.
3)l:l An election was made by the applicant in response to a restriction re
; the restriction requirement and election have been incorporat
Since this application is in condition for allowance except for formal r
closed in accordance with the practice under Ex parte Quayte. 1935

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Disposition of Ciaims*
5)- Clairn(s) 1~13 is/are pending in the application
5a) Of the above claim(s) isfare withdrawn from consideration

 

 

G)E Ctaim(s) is/are aiiowed.
7)|:| Clairn(s) is/are rejected
B)lj Claim(s) is/are objected to.

 

Q)H C|aim(s) _1_»_')'_§ are subject to restriction and/or eiection requirement
* |f any claims have been determined allowable you may be eligible to benefit from the
participating inteileotual property office for the corresponding application For more infer
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App|ication Papers
iO)l:l The specification is objected to by the Examiner.
ii)[l The drawing(s) filed on is/are: a)i:l accepted or b)\:l objectec
Applicant may not request that any objection to the drawing(s) be held in abt
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Priority under 35 U. S. C. § 119
12)|:] Acl<nowledgment` is made of a claim for foreign priority under 35 U S. l
Certified copies: '
a)l:l Al| b)l:l Some** c)l:l None of the:
‘l.l:l Certined copies of the priority documents have been received
2.I:l Certiiied copies of the priority documents have been received
B.I:] Copies of the certified copies of the priority documents have b
application from the international Bureau (PCT Rule 17.2(3)).
** See the attached detailed Office action for a list of the certified copies not received

 

 

At:tachment(s)
1) l:l Notice ornererences cited (Pro-ssz) 3) [:l intern
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-- The MA!LING DA TE of this communication appears on the cover shea

rith the correspondence address --

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reply be timely filed

NTl-tS from the mailing date ofthts communication
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j(s) is objected to. See 37 CFR ‘l.'lZ‘l(d).

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Summary {PTO-413)
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Lt.S. Pelent and Trarlemarii Oftlce

PTOL-326[Rev.11-13) Oft'me Acticri Summary

Part of Paper No./Mali Date 20151225

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Application/Control Number: 14/475,553
Art Unit: 2665

DETAILED ACTI ON

The present application is being examined under the pre-

Electir)n/Restri'ctimm
Restriction to one of the lfollowing inventions is required
l. Ciaims l-l2n drawn to identity recognition security cle‘
supporting multiple biometl'ic sensor types and a computer for il
classit‘ied in G07C 9/00563.
II. Claim l3, drawn to a process of detecting an individur

ca profile using integrated captured data from multiple types of b

7 G06K 9/00892.

The inventions are distinct, each from the other because of the ft

Inventions l and ll are related as subcombinations disclo;
combination The subcombinations are distinct if they do not o't
obvious variants, and it` it is shown that at least one su.bcomhinai
instant case1 subcombination ll has separate utility such as detec
integrating captured data from multiple types of biometric senso
See MPEP § 806.05(6).

The examiner has required restriction between subcombi
applicant elects a subcombination and claims thereto are subscqi

claim(s) depending from or otherwise requiring all thc limitatior

 

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Application/Control Nurnber: 14/475,553

Art Unit: 2665

subcombination will be examined for patentability in accordance

§ 821.04(a). Applicant is advised that ii` any claim presented in

application is anticipated by, or includes all the limitations oi`, a

present application, such claim may be subject to provisional sta

double patenting rejections over the claims of the instant appliea
Restriction for examination purposes as indicated is prop

listed in this action are independent or distinct t`or the reasons gi‘

serious search and/or examination burden il" restriction were not

the following reasons apply:

¢ the inventions have acquired ti separate stems in the cri .

classification .'

¢ inc inventions have acquired n separate .s‘iciii.i.s' in ilie cirii
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¢ the inventions require a cli]j‘erenijield Q/`.venrclz (for extra

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Applicant is advised that the reply to this requiremen'

(i) an election of an invention to be examined even though the

(37 ("FR l.l43l and (ii) identification of the claims encompass

The election of an invention may be made with or Withou

petition1 the election must be made with traverse ll the reply doe

point out supposed errors in the restriction requirement, the elect

election Without traverse rl`raversal must be presented at the time

considered timely. Failure to timely traverse the requirement will

 

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Page 3

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Applieation/Contro] Number: 14/4’751553 Page 4
Art Unit: 2665

petition under 37 CFR l.l44. lfclaims are added after the electi , applicant must indicate n
which oi` these claims are readable upon the elected invention.

Should applicant traverse on the ground that the inventio are not patentably distinct,
applicant should submit evidence or identify such evidencenow `record showing the
inventions to be obvious variants or clearly admit on the record 1 t this is the case. ln either
instance, il` the examiner lfinds one of the inventions unpatentabl -ver the prior art. the evidence
or admission maybe used in a rejection undei'35 U.S.C. 103 or‘ :~AlA 35 U.S.C. lO?)(a) ot`the

other invention

Any inquiry concerning this communication or earlier co nunieations from the
examiner should be directed to AARON W. CARTER whose tel hone number is (571`)272-
7445. The examiner can normally be reached on 9am-5pm EST lon. - Fri.).

Il` attempts to reach the examiner by telephone are unsuci s‘Ful, the examiner`s
supeivison Bhavesh l\/lehta can be reached on (57'1) 272-7453. ' : 'l`ax phone number ll`or the

organization where this application or proceeding is assigned is f -273-8300.

 

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Application/Control Nurnbei': 14/47`5,5 5 3
Alt Unit: 2665

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Application Int`orination Retrieval (PAIR) system Stat'us infon".
may be obtained from either Private PAIR or Public PAIR. Stat
applications is available through Private PAIR only. For more ii
system, see http://pair-direct.uspto,gov. Should you have questic
system, contact the Electronic Business Center (EBC) at 866~21
like assistance t`roin a USPTO Customcr Sei'vice Repi‘esentativc

information system. call 8()0-786-9199 (lN USA OR CANADA

/AARON W CARTER/
Primary Examiner, Ait Unit 2665

Page 5

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Robert Martin
3995 McClain Rd.
Liberty, MS 39645

September 6, 2016

U. S. Patent and Trademark Oft`ice
U. S. Dept of Commerce
c/o Mail Stop Petition, Co
P. O. Box 1450

Alexandria, VA 223139~1450

mmissioner ofPatents

Subject: A letter in support of the “Petition for Revival” application

Ret`: Annlication No.: 14/475,553

Dear Commissioner of Patents:

With reference being made to the original

patent application which Was filed on my behalf in
2014, I hereby submit that I do not have a desire

for this process to be “abandoned”.

Note that I am a “layman”

to all of these steps ofwhich it will take to
patent, yet Ihave every intention

successfully be awarded a
of doing What it Wi

ll take to complete the entire process

l Would huntny ask that you Would grant this “Petition for Revival” on the merits due Wit.

Feel free to contact me at any time if you may have any questions or concerns

Respectfully submitted,

Robert Martin

 

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Doc Code: MES.G¥B ' l
Document Descriptlon: Cerlil`lcaiion of Micro Entity Stalus (Gross income Basls) PT[J,'SBH§A (03.1 31

 

CERTlFicATlON OF MiCRo ENTlTY STATuS
(cRoss mccrle sasls)

 

 

Application Number o`r Control Nurnber (if applicable}: Patent Nurrlber (li applicab|e):
”i:lirst Named |nventor: t Tit|e of |nventlon:
Robert l\/|artiris SMELL AND TEl_L

 

 

The applicant hereby certifies the following_

(i) SMALL ENTlTY REQUlREMENT- The applicant qualities as a small entity as detined 1n
37 CFR 1 27

(2) APPLlCATlON F|LlNG LIM|T - Neither the applicant nor the inventor nor a joint inventor
has been named as the inventor or a joint inventor on more than four previously filed U.S.
patent applications, excluding provisional applications and international applications
under the Patent Cooperation Treaty (PCT) for which the basic national feesunder 37
CFR 1.492(a was not paid, and also excluding patent applications for which the applicant
has assigned all owne ship rights or is obligated to assign all ownership rights as a result
of the applicant1 s previous employment '

(3) GROSS lNCOME LlMlT ON APPL|CANTS AND l_NVENTORS- Neither the applicant nor
the inventor nor a joint inventor, in the calendar year preceding the calendar year in which
the applicable feels being paid bad a gross income, as defined in section 61(a) of the
internal Revenue Code of 1986 (26 U 8. C_. 6a“i( a)) exceeding the "l\/laximum Qualiiying
Gross |ncome" reported on the USPTO_ website at
http: //www. uspto. oovfpatents/|aw/mic'ro entity isp which is equal to three times the

median household income for that preceding calendar year, as most recently reported by
the Bureau of the Census.

 

(4) GROSS lNCOME Ll|ll'll'l` ON PART|ES WlTl-l AN “OWNERSH|P lNTEREST” - Neither

the applicant nor the inventor nor a joint inventor has assigned, granted, or conveyed, nor
is under an obligation by contract or law to assign, grant, or convey, a license or other 1
ownership interest in the application concerned to an entity that, in the calendar year l
preceding the calendar year in which the applicable fee is being paid, had a gross
income, as defined in section 61(a) of the internal Revenue Code of 1986, exceeding the
“Nlaxirnum Qualifying Gross |ncome" reported on the USPTO Website at
http:!/www.uspto.qov/patentsllaW/rnicro entitv.isp Which is equal to three times the

median household income for that preceding calendar year, as most recently reported by
the Bureau of the Census.

 

SlGNATLiRE by a party set forth |n 37 CFR 1.33(|;1)

 

 

 

 

_Slg“a“"& /luca d'ottone/
tim LucA D'oTToNE
Date 07/30/2014 Telephone (305) 975_0897 Registratior_i No. 56341

 

 

 

 

 

 

 

,_1 l There is more than one inventor and l am one of the inventors who are ioiritlv identified as the aDD|le-Bi'li-

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PTO!A|A/‘i¢i (03-‘13)
Approved for use through 011'31.'20‘14. OMB 0651-0032
l.liS. Palent and Trademark Of‘fice; i.|.S. DEPARTMENT OF COMMERCE

Under the Paperwork deuction Aciof1995` no persons are required to respond to a collection of information unless itcontains a valid OMB control number. _

 

, _ Attorney Docket Number 2013|DSRM2NU
App|lcatlon Data Sheet 37 CFR 1.76

 

 

Application Number

 

 

Tit|e of invention SMELL AND TELL

 

 

The application data sheet is part of the provisional or nonprcvisional application for which ills being submitted The following form contains the
bib|iographic data arranged in a format specifled by the United States Patent and Tradernark Ofi”lce as outlined in 37 CFR 1.76.

This document may be completed electronically and submitted to the Of“Hce in electronic format using the Electronic Filing Sysiern (EFS) or the
document may be printed and included in a paper H!ed application

 

 

 

Secrecy Order 37 CFR 5.2

 

|:| Portions or all of the application associated with this Application Data Sheet may fall under a Secrecy Order pursuant to
37 CFR 5.2 (Paper nlers only. App|ications that fall under Secrecy Order may not be filed electronically.)

 

inventor |nformation:

 

inventor 1 ` RBm°‘-'e

 

 

 

 

 

 

 

 

 

Legai Name
Prefix Given l\iame Midd|e Name Family Name Suffix
Robert Niartins
Residence information (Select One) @ US Residency O Non US Residency O Active US Nli|itary Serviee
City Liberty StatelProvince l NlS l Country of Residencd US

 

 

 

 

Mai|ing Address of lnventor:

 

 

 

 

 

Address 1 3995 McC1ain Rd

Address 2

City l Liberty l StatelProvince l MS
Postalcode | 39645 j countryi j us

 

All inventors Nlust Be Listed ~ Additiona| |nvenior information blocks may be

generated within this form by selecting the Add button. lAd'd'

 

 

 

Correspondence lnformation:

 

Enter either Customer Number or complete the Correspondence information section below.
For further information see 37 CFR 1 .33(aj.

 

|:| An Address is being provided for the correspondence information of this application.

 

Customer Number 41809

 

 

 

Ema`il Address | A<'id E_r_riail '_ | lRem‘ove Emall|

 

 

 

App|ication lnformation:

 

Title of the invention SMELL AND TEl_L

 

Attorney Docket Number 2013|DSRM2NU Small Entity Status C|aimecl ix

 

 

App|ication Type Nonprovisiona|

 

 

Subject Matter Utiiity

 

Tota| Number of Drawing Sheets {if any) 7 Suggested Figure for Publication (if any)

 

 

 

 

 

 

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Ap]:irovei:l for use through 011'31!2014. OMB 0651-0032

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Attorney Doci<et Nurnber ZOiSEDSRMZNU

 

 

Appiication Data Sheet 37 CFR 1.76

 

Application Number

 

 

 

Tit|e of invention SMELL AND TELL

 

 

 

 

Pubiication information:
i:| Request Early Pubiication (Fee required at time of Request 37 CFR 1.219)

 

 

Request Not to Pubiish. i hereby request inst the attached application net be published under

§ 36 U. S. C. 122(1)) and certify that the invention disclosed in the attached application has not and will not be the
subject of an application filed in another country, or under a multiiaterai international agreementl that requires
publication at eighteen months after filing. -

 

 

 

Representative information:

 

Representative information should be provided for all practitioners having a power of attorney in the application Providing
this information in the App|ication Date Sheet does not constitute a power of attorney in the application (see 37 CFR 1.32).

Either enter Customer Number or complete the Representative Name section below. if both sections are completed the customer
Number will be used for the Representative information during processing

 

 

Piease Seiect One: @ Customer Number 0 US Patent Prectitioner O Limited Recognition (37 CFR 11.9)
Customer Nurnber 41809

 

 

 

 

 

 

 

Domestic Benefithationai Stage information:

This section allows for the applicant to either claim benefit under 35 U.S.C. 119(e), 120, 121, or 365(c) or indicate
Nationai Stage entry from a PCT applicationl Providing this information in the application data sheet constitutes the
specific reference required by 35 U.S.C. 119(e) or120. and 37 CFR 1.78.

`Prior Appiication Status `Pending
Appiication Number Continuity Type Prior App|ication Number Fiiing Date (YYYY-Nii\ii-DD)
61/703371 non provisional of 61/703371 2013-09-'§8

Addiiionai Domestic Benefit/Nationa| Stage Data may be generated within this form
by selecting the Add button ‘

 

 

 

 

 

 

 

 

 

 

Foreign Priority information: i

 

This section allows for the applicant to claim priority to a foreign appiication. Providing this information in the application data sheet
constitutes the claim for priority as required by 35 U.S.C. 119(b) and 37 CFR i.5_5(d}. When priority is claimed to a foreign application
that is eligible for retrieval under the priority document exchange program (F’D)()1 the information will be used by tire Otfice to
automatically attempt retrieval pursuant to 37 CFR 1.55(h)(‘i) and (2). Under the PDX program. applicant bears the ultimate
responsibility for ensuring that a copy of the foreign application is received by the Orfice from the participating foreign intellectual
property office, or a certified copy of the foreign priority application is filed' within the time period specified in 37 CFR 1.55(9)(1).

 

l.Remcv`e:|
Appiication Number Country' Fi|ing Date (YYYY-NiiVi-DD) Access Code' (if applicabie)

 

 

 

 

 

 

 

 

Additionai Foreign Priority Data may be generated within this form by selecting the

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Attorney Docket Number 2013|DSRM2NU

 

Appiication Data Sheet 37 CFR 1.76

 

 

Appiication Number

 

 

Titie of invention SN|ELL AND TELL

 

 

 

 

Statement under 37 CFR 1.55 or 1.78 for AlA (First inventor to Fi|e) Transition
Applications

 

This application (i) claims priority to or the benefit of an application filed before iviarch 16, 2013 and (2) also

contains, or contained at any time, a claim to a claimed invention that has an effective filing date on or after i\liarch
|:\ is, 2013.

NOTE: By providing this statement under 37 CFR 1.55 or 1.78, this applicationl with a filing date on or after lillarch

’|6, 2013, will be examined under the first inventor to file provisions of the AiA.

 

 

 

Authorization to Permit Access:

 

|:| Authorization to Permit Access to the instant Application by the Participating Offices

if checked, the undersigned hereby grants the USPTO authority to provide the European Patent Office (EPO),

the Japan Patent Office (JPO). the Kcrean intellectual Property Ofnce (KlPO), the World intellectual Property Oche (WiPO),
and any other intellectual property cruces in which a foreign application claiming priority to the instant patent application

is filed access to the instant patent application See 37 CFR 1.14(0) and (h). This box should not be checked if the applicant
does not wish the EPO, JPO, KlPO, WlPO, or other intellectual property ofnce in which a foreign application claiming priority
to the instant patent application is filed to have access to the instant patent application

 

in accordance with 37 CFR 1.14(h)(3), access will be provided to a copy of the instant patent application with respect

to: 1) the instant patent application-as-n|ed; 2) any foreign application to which the instant patent application

claims priority under 35 U_S.C. 119(a)-(d) if a copy of the foreign application that satisfies the codified copy requirement of
37 CFR 1.55 has been filed in the instant patent application; and 3) any U.S. application-as-t"iied from which benth is
sought in the instant patent application

in accordance with 37 CFR 1.14(0), access may be provided to information concerning the date o filling this Authorization.

 

 

 

App|icant information:

 

Providing assignment information in this section does not substitute for compliance with any requirement of part 3 of Tit|e 37 of CFR
to have an assignment recorded by the Office.

 

 

 

 

 

 

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Attorney Dcci<et Number 2013!DSRM2NU

 

Appiication Data Sheet 37 CFR 1.76

 

 

Appilcatlon Number

 

Title of lnvent'ion SMELL AND TELL

 

 

 

Appiicant 1

 

|f the applicant is the inventor (or the remaining joint inventor or inventors under 37 CFR 1.45), this section should not be completed
The information to be provided in this section is the name and address of the legal representative who is the applicant under 37 CFR
1_43; or the name and address of the assignee, person to whom the inventor is under an obligation to assign the invention or person
who otherwise shows sufficient proprietary interest in the matter who is the applicant under 37 CFR 1.46. lf the applicant is an
applicant under 37 CFR 1.46 (asslgnee, person to whom the inventor is obligated to assign or person who otherwise shows sufnclent
proprietary interest) together with one or more joint inventors, then the joint inventor or inventors who are also the applicant should be

identined in this section _ _

 

O Assignee O Legai Representative under 35 U.S.C. 117 0 .ioint inventor

 

 

 

O Person to whom the inventor is obligated to assign O Person who shows sufficient proprietary interest

 

 

if applicant is the legal representative indicate the authority to file the patent application the inventor is:

 

 

 

Name of the Deceased or Legaiiy incapacitated inventor :

 

 

 

 

 

if the Applicant is an Organlzation check here. |:l

 

 

Prefix Given Name i\iilddie Name Famiiy Name Suffi)<

 

 

 

 

 

 

 

 

!lliailing Address information For App|icant:

 

 

 

 

 

 

 

 

 

 

Address 1

Address 2

City StatelProvince
Countryi Postai Code
Phone Number Fax Number
E'mai| Address

 

Additiona| Appiicant Data may be generated Within this form by selecting the Add button

 

 

Assignee information including Non-Appiicant Assignee information:

 

Provldlng assignment information in this section does not subsitute for compliance with any requirement of part 3 of Titie 37 of CFR to
have an assignment recorded by the Ofnce.

 

 

Assignee 1

 

Complete this section if assignee information including non-applicant assignee information is desired to be included on the patent
application publication . An assignee~applicant identified in the "Applicant lnformation" section will appear on the patent application

publication as an applicantl For an assignee-applicantl complete this-section only if identification as an assignee is also desired on the
patent application publication

 

 

 

 

 

 

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Attorney Docket Number 2013|DSRN|2NU

App|ication Number

 

Appiication Data Sheet 37 CFR 1.76

 

 

 

 

Tit|e of invention SMELL. AND TELL

 

 

 

if the Assignee is an Organization check here. i:i

 

 

Prefix Given Name Nliddle Name Family Name Sutfix

 

 

 

 

 

 

 

|Viai|ing Address information For Non-Appiicant Assignee:

 

 

 

 

 

 

 

 

Address 1

Address 2

City StateiProvince
Countryi Postai Code
Phone Number Fax Number

 

 

 

Email Add rees

Additlonal Assignee Date may be generated within this form by selecting the Add button

 

 

 

 

Signature:

NOTE: This form must be signed in accordance with 37 CFR_1.33_ See 37 CFR 1.4 for signature requirements and
certifications `

 

 

Signature ILUCA D'OTTONEI Date (YY‘i’Y-MN|-DD) 2014-07-30

 

First Name LUCA LastName D'OTTONE Registration Number 56341

 

 

 

 

 

 

 

 

Addiilona| Signature may be generated within this form by selecting the Add button

 

This coliection of information is required by 37 CFR 1.76. The information is required to obtain or retain a benefit by the public which
is to file (and by the USPTO to process) an application Confidentlality is governed by 35 U.S.C. 122 and 37 CFR 1.14. Tnis
coliection is estimated to take 23 minutes to completel including gathering, preparing, and submitting the completed application data
sheet form to the USPTO. Time will vary depending upon the individual case Any comments on the amount of time you require to
complete this form and/or suggestions for reducing this burden should be sent to the Chief information Officer, U.S. Patent and
Trademark Officel U.S. Department ofCommerce, F'.O. Box 1450. Alexandfia, VA 22313-1450. DO NOT SEND FEES OR
CON|PLETED FORMS TO TH|S ADDRESS. SEND TO: Commissioner for Patents, P.O. Box 1450, Alexandria, VA 22313-1450.

 

 

 

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Privacy Act Statement

 

 

The Privacy Act of 1974 (I`-‘.i_. 93-579) requires that you be given certain information in connection with your submission of the attached form related to
a patent application or patent. Accordingiy. pursuant to the requirements ot the Act, please be advised that: (1) the general authority for the collection
of this information is 35 U.S_C. 2{b)(2); (2) furnishing of the information solicited is voluntary; and (3) the principal purpose for which the information is
used by the U.S. Patent and Trademark Office is to process andior examine your submission related to a patent application or patent. |f you do not
furnish the requested information the U.S. Patent and Trademark Ofnce may not be able to process and/or examine your submission which may
result in termination of proceedings or abandonment of the application or expiration of the patent.

The information provided by you in this form w|i| be subject to the following routine uses;
1. The information on this form will be treated confidential|y to the extent ailowed under the Freedom of information Act (5 U.S.C. 552)

and the Privacy Aci (5 U.S.C. 552a). Records from this system of records may be disclosed to the Departrnent of Justice to determine
whether the Freedom of information Act requires disciosure of these records.

2. A record from this system of records may be dlsciosed, as a routine use, in the course of presenting evidence to a couri, magistrate, or
administrative tribunal, including disclosures to opposing counsel in the course of settlement negotiations
3. A record in this system ot records may be disclosed, as a routine use,'io a Member of Congress submitting a request involving an
individuall to whom the record pertains. when the individual has requested assistance from the lvlember with respect to the subject matter of
the record.
4_ A record in this system of records may be disclosed, as a routine use, to a contractor of the Agency having need for the information in

order to perform a contract. Recipients of information shali be required to comply with the requirements of the Privacy Act of 1974, as
amended, pursuant to 5 U.S.C. 552a(m).

5. A record related _io an international Application filed under the Patent Cooperation Treaiy in this system ofrecords may be dlsclosed,
as a routine use, to the international Bureau of the World intellectual Properiy Organization. pursuant to the Patent C o o p eration Treaty.

6. A record in this system of records may be disclosed, as a routine use, to another federal agency for purposes of Nationai Security
review (35 U.S.C. 181) and for review pursuant lottie Alomic Energy Act (42 U.S.C. Zts(c)).

7. A record from this system of records may be disciosed. as a routine use, to the Adminlstrator, Generai Services, or his/her designee.
during an inspection of records conducted by GSA as pari of that agency's responsibiiity lo recommend improvements in records
management practices and programs, under authority of 44 U.S.C. 2904 and 2906. Such disclosure shall be made in accordance with the
GSA regulations governing inspection of records for this purpose, and any other relevant (i.e., GSA or Commerce) dlrective. Such
disclosure shall not be used to make determinations about individuals

B. A record from this system of records may be dlsclosed. as a routine use. to the public after either publication of the application pursuan
to 35 U.S.C. 122(b) cr issuance ct a patent pursuant to 35 U.S.C. 151 . Furlher, a record may be dlsclosed, subject to the limitations of 37
CFR 1.14, as a routine use, to the public ifihe record was filed in an application which became abandoned or in which the proceedings were

terminated and which application is referenced by either a published application an application open to public inspections or an issued
patent.

9. A record from this system of records may be disclosed as a routine use, to a Federai, Statel or local law enforcement agency, if the
USF'TO becomes aware of a violation or potential violation of law or regulation

 

 

 

 

 

 

